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                         1       Richard L. Wynne (Bar No. 120349)
                                 richard.wynne@hoganlovells.com
                         2       Bennet L. Spiegel (Bar No. 129558)
                                 bennett.spiegel@hoganlovells.com
                         3       Edward J. McNeilly (Bar No. 314588)
                                 edward.mcneilly@hoganlovells.com
                         4       HOGAN LOVELLS US LLP
                                 1999 Avenue of the Stars, Suite 1400
                         5       Los Angeles, California 90067
                                 Telephone: (310) 785-4600
                         6       Facsimile: (310) 785-4601
                         7       Attorneys for the Official Committee of Unsecured
                                 Creditors of Kfir Gavrieli
                         8

                         9
                                                                     UNITED STATES BANKRUPTCY COURT
                       10
                                                                      CENTRAL DISTRICT OF CALIFORNIA
                       11

                       12                                                   LOS ANGELES DIVISION

                       13        In re:                                                  Case No.: 2:21-bk-10826-BB

                       14        KFIR GAVRIELI,                                          Chapter 11

                       15                                                 Debtor.

                       16                                                                HOGAN LOVELLS US LLP’S FOURTH
                                                                                         MONTHLY FEE APPLICATION FOR
                       17                                                                ALLOWANCE AND PAYMENT OF
                       18                                                                INTERIM COMPENSATION AND
                                                                                         REIMBURSEMENT OF EXPENSES FOR
                       19                                                                THE PERIODS JUNE, 1-30 AND JULY 1-
                                                                                         31, 2021
                       20

                       21                                                                [No Hearing Required Unless Requested
                       22                                                                Pursuant to Local Bankruptcy Rule 2014-1]

                       23

                       24

                       25

                       26

                       27

                       28
H OGAN L OVEL LS US
       LLP
   ATTO RNEY S AT LAW
SAN FRA NCI S CO, N EW YOR K
                               \\LA - 771657/000001 - 2091181 v1
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                         1                  1.            Hogan Lovells US LLP (“Hogan Lovells”) submits its Fourth Monthly fee
                         2     Application for Allowance and Payment of Interim Compensation and Reimbursement of Expenses
                         3     (the “Application”) for the Period June 1, 2021 through June 30, 2021, and for the Period July 1,
                         4     2021 through July 31, 2021 (the “Application Period”) for work performed for the Official
                         5     Committee of Unsecured Creditors of Kfir Gavrieli (the “Committee”). In support of the
                         6     Application, Hogan Lovells respectfully represents as follows:
                         7                  2.            Hogan Lovells is counsel to the Committee. Hogan Lovells hereby applies to the
                         8     Court for allowance and payment of interim compensation for services rendered and reimbursement
                         9     of expenses incurred during the Application Period.
                       10                   3.            Hogan Lovells billed a total of $369,187.88 1 in fees and expenses during the
                       11      Application Period. The total fees represent 328.5 hours expended during the period covered by
                       12      this Application. These fees and expenses break down as follows:
                       13          Period                                Fees                  Expenses                  Total
                       14          June 1-30, 2021                       $191,233.13           $1,907.98                 $198,372.98
                       15          July 1-31, 2021                       $174,257.37           $1,789.40                 $180,814.90
                       16          Total Application Period $365,490.50                        $3,697.38                 $369,187.88
                       17

                       18                   4.            Accordingly, Hogan Lovells seeks interim allowance of fees in the amount of

                       19      $365,490.50 and expenses in the amount of $3,697.38 at this time.

                       20                   5.            Hogan Lovells seeks interim compensation of $296,089.78 at this time pursuant to

                       21      this Application, which is equal to the sum of 80% of the fees for services rendered ($292,392.40)

                       22      and 100% of expenses ($3,697.38). 2

                       23      1
                                 This amount reflects a voluntary reduction of fees, in the amount of $10,000.00, to account for instances where
                               multiple attorneys attended certain hearings and/or meetings. Although Hogan Lovells believes that it was necessary
                       24      for such attorneys to be in attendance for the respective hearings and meetings, Hogan Lovells is not charging the
                               estate in this particular case.
                               2
                       25        On June 9, 2021, the Unatins filed The Unatins’ Objection to Applications For Allowance and Payment of Interim
                               Compensation to Professionals (Dkts. 314, 315, 316, 317, 318, 319, 320, 321, 323) [Dkt. No. 350] (the “Unatin
                       26      Objection”), which purported to object to, among other things, Hogan Lovells’ Second Monthly Fee Application [Dkt.
                               No. 294], covering the period April 1 through April 30, 2021. That objection, aside from being unclear as to what the
                       27      Unatins were objecting, was not timely filed as it was filed more than 10 calendar days after May 28, 2021, the date on
                               which Hogan Lovells filed such application and the Debtor gave notice of such application [Dkt. No. 299]. No
                       28      objection has been filed to Hogan Lovells’ Monthly Fee Application [Dkt. No. 379], which was filed June 30, 2021
H OGAN L OVEL LS US            and also noticed to parties in interest by the Committee on that same day [Dkt. No. 380]. Accordingly, Hogan Lovells
       LLP
   ATTO RNEY S AT LAW
SAN FRA NCI S CO, N EW YOR K
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 1                6.            For the postpetition period, Hogan Lovells has been paid to date as follows:
 2     Application Period                             Amount                       Description
 3     1st Monthly (March 17-31, 2021)                $66,285.20                   80% of fees
 4     2nd Monthly (April 1-30, 2021                  --
 5     3rd Monthly (May 1-31, 2021)                   --
 6     Total Paid to the Firm to Date                 $66,285.20
 7

 8                7.            To date, Hogan Lovells is owed as follows (excluding amounts owed pursuant to

 9   this Application):

10     Application Period                             Amount                       Description

11     1st Monthly (March 17-31, 2021)                $16,571.30                   20% holdback of fees

12     2nd Monthly (April 1-30, 2021)                 $236,019.10                  100% of fees and 100% of

13                                                                                 expenses

14     3rd Monthly (May 1-31, 2021)                   $188,912.96                  100% of fees and 100% of

15                                                                                 expenses

16     Total Owed to the Firm to Date                 $441,503.36

17
                  8.            Attached as Exhibit A hereto is the name of each professional or paraprofessional
18
     who performed services in connection with this case during the period covered by the Application
19
     and the hourly rate for each such professional or paraprofessional. Attached as Exhibit B hereto
20
     are the detailed time and expense statements for the Application Period.
21
                  9.            Hogan Lovells has served a copy of this Application on the Office of the United
22
     States Trustee, the Debtor, counsel to the Debtors, the chapter 11 trustee, and counsel to the chapter
23
     11 trustee. The Application was mailed by first class mail, postage prepaid, on or about August 31,
24
     2021. Notice of the filing of this Application was served on the foregoing parties as well as any
25
     party who has requested special notice in this chapter 11 case as of the date of the notice.
26

27
     is also entitled to receive payment of $340,650.86 at this time pursuant to the Second and Third Monthly Fee
28   applications, comprised as follows: $337,124.80 (80% of the fees for services rendered) plus $3,526 in expenses.

                                                                 2
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 1                10.           Pursuant to this Court’s Order on Debtor’s Motion Establishing Procedures for
 2   Monthly Payment of Fees and Expense Reimbursement [D.I. 103], the Debtor is authorized to make
 3   the payment requested herein without further hearing or order of the Court unless an objection to
 4   this Application is filed with the Court and served upon the Notice Parties within ten (10) calendar
 5   days after the date of mailing of the Notice of this Application. If such an objection is filed, the
 6   Debtor is authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses
 7   without further order of the Court. If no objection is filed, the Debtor is authorized to pay 80% of
 8   all fees and 100% of all expenses requested in this Application without further order of this Court.3
 9                11.           The interim compensation and reimbursement of expenses sought in this
10   Application is not final. Upon the conclusion of this case, Hogan Lovells will seek fees and
11   reimbursement of the expenses incurred for the totality of the services rendered in this case. Any
12   interim fees or reimbursement of expenses approved by this Court and received by Hogan Lovells
13   will be credited against such final fees and expenses as may be allowed by this Court.
14

15                WHEREFORE, Hogan Lovells respectfully requests that the chapter 11 trustee pay
16   compensation to Hogan Lovells as requested herein pursuant to and in accordance with the terms
17   of the Order on Debtors Motion Establishing Procedures for Monthly Payment of Fees and
18   Expense Reimbursement.
19
20

21   Dated: August 31, 2021                                           Hogan Lovells US LLP
22                                                                    By: /s/ Richard L. Wynne
23                                                                    Richard L. Wynne
                                                                      Attorney for the Official Committee of
24                                                                    Unsecured Creditors

25

26   3
       On August 13, 2021, Robert A. Kors, as chapter 11 trustee, filed the Chapter 11 Trustee's Notice of Motion and
     Motion: (I) Establishing Deadline for Filing of Final Fee Applications for Certain Estate Professionals; and (II) Setting
27   a Hearing for Final Fee Applications [Dkt. No. 420], in which the chapter 11 trustee indicated his intention to continue
     with the Compensation Procedures Order with respect to Committee professionals. Hogan Lovells therefore requests
28   that references to the “Debtor” acting under the Compensation Procedures Order be construed as references to the
     “chapter 11 trustee.”
                                                                3
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                                 EXHIBIT A
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Name                      Title                     Hourly Rate                Hours
Richard L. Wynne          Partner                         $1,550.00                     101.3
Bennett L. Spiegel        Partner                         $1,310.00                     66.1
Jonathan Leitch           Partner                         $1,250.00                      0.5
Edward J. McNeilly        Partner                          $875.00                      75.8
Alex M. Sher              Senior Associate                $1,025.00                      6.4
Rahmon J. Brown           Law Clerk1                       $835.00                      57.8
Tracy Southwell           Paralegal                        $490.00                      20.6




1Mr. Brown has been a member of the Illinois Bar since 2017, but is not yet admitted in New York State.
He is awaiting admission.
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                                 EXHIBIT B
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                                                                                                                                     Hogan Lovells US LLP
                                                                                                                                     1999 Avenue of the Stars
                                                                                                                                     Suite 1400
                                                                                                                                     Los Angeles, CA 90067
                                                                                                                                     T +1 310 785 4600
                                                                                                                                     F +1 310 785 4601
                                                                                                                                     www.hoganlovells.com




Kfir Gavrieli Official Creditors Committee
                                                                                        Date                                         August 30, 2021
c/o KRKB Family Trust
100 De Sabla Road                                                                       Invoice No                                   19600006430
94010 Hillsborough
CA                                                                                      Our ref                                      771657.000001
Attention: Roman Margolin                                                               Partner                                      Rick Wynne
                                                                                        Email                                        rick.wynne@hoganlovells.com
                                                                                        Fed ID                                       XX-XXXXXXX



Kfir Gavrieli Official Creditors Committee

Summary                                                                                                                                                                          Amount
                                                                                                                                                                                  USD
Professional Services                                                                                                                                                             196,465.00
Less Discount                                                                                                                                                                      (5,231.87)
Total Professional Services                                                                                                                                                       191,233.13

Total Disbursements and Charges                                                                                                                                                          1,907.98

                                                                                                                                                    Subtotal                         193,141.11
                                                                                                                                                   Total Due                         193,141.11

Payment Details
Electronic payments should be sent to                                       In light of COVID-19, we are                   Check payments may be sent to:                     Payment requested
Wells Fargo Bank NA, 420 Montgomery Street                                  requesting that our clients pay                Hogan Lovells US LLP                               within 30 days from
San Francisco, CA 94104                                                     their invoice via ACH/wire                     P.O. Box 75890                                     invoice date
Account: Hogan Lovells US LLP – Operating Account                           transfer, if they are not doing so             Baltimore, MD 21275-5890
SWIFT code: WFBIUS6S Account No: 2000010688096                              already.
ABA #121000248 For Wire Transfers Only
ABA #054001220 (For ACH Transfers Only)




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International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf Frankfurt Hamburg Hanoi Ho Chi Minh City
Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey Moscow Munich New York Northern Virginia Paris Perth
Philadelphia Rome San Francisco São Paulo Shanghai Silicon Valley Singapore Sydney Tokyo Warsaw Washington, D.C. Associated Offices: Budapest Jakarta Riyadh Shanghai FTZ Ulaanbaatar
Zagreb. Business Service Centers: Johannesburg Louisville. Legal Service Center: Berlin. For more information see www.hoganlovells.com
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                                                                                                    Date                                  August 30, 2021

                                                                                                    Invoice No                            19600006430

                                                                                                    Our Ref                               771657.000001



Period June 30, 2021

                                                                                                                                  Disbursements &                                 Total
Detail by jurisdiction                                                                   Professional Services                        Charges                                     USD


Hogan Lovells (Hong Kong)                                                                                        625.39                                    0.00                              625.39


Hogan Lovells US LLP                                                                                       190,607.74                               1,907.98                           192,515.72




                                                                              Total                        191,233.13                               1,907.98                            193,141.11

                                                                                                                                                                                   Charges
Disbursements & charges                                                                                                                                                             USD
Courier and Shipping Costs                                                                                                                                                                 1,231.24
Photocopying and Other Reprographic Charges                                                                                                                                                 203.40
Courier and Shipping Costs                                                                                                                                                                       2.91
Search Fees                                                                                                                                                                                  414.18
Document Production                                                                                                                                                                            56.25
                                                                                                                                                                Total                     1,907.98




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                                                              Date                August 30, 2021

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Kfir Gavrieli Official Creditors Committee

                                                    Professional Services

01 - Litigation

Date           Name                          LLP          Rate          Hours     Amount      Narrative
06/01/21       Rahmon Brown                  HLUS       835.00             2.50   2,087.50    Research and analyze law
                                                                                              regarding order to show
                                                                                              cause
06/02/21       Rahmon Brown                  HLUS       835.00             2.80   2,338.00    Research and analyze law
                                                                                              regarding order to show
                                                                                              cause and email E.
                                                                                              McNeilly regarding same
                                                                                              (2.6); email B. Eagin
                                                                                              regarding cases cited in the
                                                                                              U.S. Trustee and Unatins'
                                                                                              replies (.2)
06/03/21       Alex M. Sher                  HLUS      1,025.00            6.10   6,252.50    Call with B. Spiegel
                                                                                              regarding joint ex parte
                                                                                              motion seeking to file sur-
                                                                                              reply related to order to
                                                                                              show cause with respect to
                                                                                              appointment of a trustee
                                                                                              (.8); draft ex parte motion
                                                                                              and multiple
                                                                                              communications with B.
                                                                                              Seigel regarding same
                                                                                              (4.5); attention to
                                                                                              comments from same and
                                                                                              implement same (.5);
                                                                                              communication with
                                                                                              debtor's counsel regarding
                                                                                              same (.3)
06/03/21       Rahmon Brown                  HLUS       835.00           10.00    8,350.00    Research case law
                                                                                              regarding sur-reply to
                                                                                              order to show cause (3.6);
                                                                                              review cases cited in
                                                                                              replies to order to show
                                                                                              cause (2.7); drafts sections
                                                                                              of sur-reply (2.9); emails to
                                                                                              E. McNeilly and B. Spiegel
                                                                                              regarding drafts of sur-
                                                                                              reply sections (.5); confer
                                                                                              with E. McNeilly regarding
                                                                                              sur-reply (.3)
06/04/21       Alex M. Sher                  HLUS      1,025.00            0.30    307.50     Convert joint ex parte
                                                                                              motion to file sur-reply
                                                                                              into a motion solely from
                                                                                              the committee
06/29/21       Edward Joseph                 HLUS        875.00            0.20     175.00    Telephone conference with
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                                                              Date                  August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No            19600006430

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Kfir Gavrieli Official Creditors Committee

01 - Litigation

Date           Name                          LLP          Rate          Hours      Amount       Narrative
               McNeilly                                                                         R. Wynne regarding
                                                                                                Gavrieli appeal and
                                                                                                adversary proceeding
06/30/21       Edward Joseph                 HLUS       875.00             2.90     2,537.50    Research and draft
               McNeilly                                                                         memorandum analyzing
                                                                                                availability of abstention in
                                                                                                Unatin v. debtor adversary
                                                                                                proceeding
                                                      Subtotal          24.80     22,048.00

05 - Hearing

Date           Name                          LLP          Rate          Hours      Amount       Narrative
06/03/21       Rick Wynne                    HLUS      1,550.00            0.10      155.00     Telephone conference with
                                                                                                J. Reisner regarding
                                                                                                coordinating hearing
                                                                                                preparation
06/07/21       Rick Wynne                    HLUS      1,550.00            2.50     3,875.00    Prepare for hearing,
                                                                                                including review of
                                                                                                pleadings (1.2); prepare
                                                                                                outline of argument (.8);
                                                                                                review cases (.5)
06/07/21       Rick Wynne                    HLUS      1,550.00            0.40      620.00     Telephone conference with
                                                                                                B. Spiegel regarding
                                                                                                hearing preparation issues
06/08/21       Bennett Spiegel               HLUS      1,310.00            4.30     5,633.00    Telephone conference with
                                                                                                R. Wynne and review
                                                                                                pleading materials in
                                                                                                preparation for hearing on
                                                                                                order to show cause
                                                                                                regarding trustee (1.2);
                                                                                                appear at hearing on order
                                                                                                to show cause regarding
                                                                                                trustee (1.8); follow up
                                                                                                internal telephone
                                                                                                conference and telephone
                                                                                                conference with debtor
                                                                                                counsel regarding potential
                                                                                                next steps following
                                                                                                hearing on order to show
                                                                                                cause regarding trustee
                                                                                                (1.1); e-mail
                                                                                                correspondence with R.
                                                                                                Wynne and E. McNeilly
                                                                                                regarding potential trustee
                                                                                                candidates (.2)
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Kfir Gavrieli Official Creditors Committee

05 - Hearing

Date           Name                          LLP          Rate          Hours      Amount       Narrative
06/08/21       Rick Wynne                    HLUS      1,550.00            1.50    2,325.00     Prepare for hearing,
                                                                                                including review of
                                                                                                pleadings (1.2); telephone
                                                                                                conference with B. Spiegel
                                                                                                regarding same (.3)
06/08/21       Rick Wynne                    HLUS      1,550.00            1.80    2,790.00     Appear at order to show
                                                                                                cause regarding trustee
                                                                                                hearing
06/08/21       Edward Joseph                 HLUS       875.00             2.00    1,750.00     Attend hearing on order to
               McNeilly                                                                         show cause to appoint
                                                                                                chapter 11 trustee
                                                      Subtotal          12.60     17,148.00

B110 - Case Administration

Date           Name                          LLP          Rate          Hours      Amount       Narrative
06/03/21       Tracy Southwell               HLUS       490.00             0.20       98.00     Retrieval and distribution
                                                                                                of stipulation regarding
                                                                                                briefing schedule in
                                                                                                adversary case (.1); prepare
                                                                                                calendar notices regarding
                                                                                                adversary (.2); review
                                                                                                proof of service from Ace
                                                                                                attorney service (.1)
06/06/21       Rick Wynne                    HLUS      1,550.00            0.30      465.00     Telephone conference with
                                                                                                T. Daileader regarding
                                                                                                prior trustee experience
06/07/21       Tracy Southwell               HLUS       490.00             0.50      245.00     Coordinate rush delivery to
                                                                                                chambers of sur-reply (.2);
                                                                                                coordinate mail service of
                                                                                                same (.1); review
                                                                                                stipulation regarding
                                                                                                motion to dismiss and
                                                                                                update calendar notice (.2)
06/08/21       Tracy Southwell               HLUS       490.00             0.40      196.00     Coordinate chamber's
                                                                                                delivery of joinder to reply
                                                                                                to approve stipulations
                                                                                                between debtor and
                                                                                                committee (.3); attention
                                                                                                to mail service of same (.1)
06/09/21       Rick Wynne                    HLUS      1,550.00            0.30      465.00     Telephone conference with
                                                                                                H. Ehrenberg regarding
                                                                                                U.S. Trustee interview
                                                                                                process and case
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                                                              Date                August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No          19600006430

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Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              background

06/10/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              T. Keller regarding
                                                                                              possible trustee position
                                                                                              and case issues
06/10/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conferences
                                                                                              with potential trustee
                                                                                              candidate C. Nelson
                                                                                              regarding case and trustee
                                                                                              role and issues
06/10/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              G. Berman regarding
                                                                                              possible trustee role
06/11/21       Tracy Southwell               HLUS       490.00             0.20     98.00     Review pleading and
                                                                                              prepare calendar notice
06/15/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conferences
                                                                                              with J. Reisner regarding
                                                                                              delay in trustee
                                                                                              appointment, steps needed
                                                                                              in case, and stipulation to
                                                                                              move hearing and other
                                                                                              dates back
06/17/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    Review e-mail
                                                                                              correspondence with S.
                                                                                              Chenetz regarding
                                                                                              appointment of chapter 11
                                                                                              trustee and next steps
06/17/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conferences
                                                                                              with J. Reisner regarding
                                                                                              committee and creditors
                                                                                              seeking trustee election
06/17/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Prepare correspondence to
                                                                                              S. Chenetz regarding her
                                                                                              appointment, and send her
                                                                                              various pleadings for
                                                                                              background purposes and
                                                                                              to set up meeting
06/18/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              proposed communication
                                                                                              with chapter 11 trustee and
                                                                                              candidates for trustee
                                                                                              election
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                                                              Date                August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No          19600006430

                                                              Our Ref             771657.000001

Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount      Narrative
06/21/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              election issues
06/21/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              trustee election notice we
                                                                                              filed
06/21/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              M. Shinderman regarding
                                                                                              case background and
                                                                                              issues if R. Kors becomes
                                                                                              trustee
06/21/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              trustee, how to keep
                                                                                              backstop and plan in place,
                                                                                              creditor treatment
                                                                                              changes, and trustee
                                                                                              expense issues
06/21/21       Tracy Southwell               HLUS       490.00             0.50    245.00     Coordinate chambers
                                                                                              package regarding trustee
                                                                                              election request (.2);
                                                                                              coordinate hand delivery to
                                                                                              U.S. Trustee regarding
                                                                                              same and mail service (.3)
06/22/21       Bennett Spiegel               HLUS      1,310.00            1.00   1,310.00    Telephone conference with
                                                                                              R. Wynne, S. Chenetz and
                                                                                              J. Kroop regarding
                                                                                              discussion of case status
                                                                                              and background
06/22/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              preparation for trustee
                                                                                              meeting
06/22/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              S. Chenetz, J. Kroop and B.
                                                                                              Spiegel regarding case
                                                                                              status and progress
06/22/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              R. Kors regarding interest
                                                                                              in trustee interviews
06/23/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              E. McNeilly regarding task
                                                                                              list, letter to E. Escobar
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Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              regarding IRS issues, and
                                                                                              to do items on all issues
06/23/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Pomerantz regarding
                                                                                              Gavrieli case trustee
06/23/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              Unatins' new settlement
                                                                                              overture, possible
                                                                                              responses, and potential
                                                                                              meeting
06/23/21       Edward Joseph                 HLUS       875.00             0.30    262.50     Draft and send email to E.
               McNeilly                                                                       Escobar regarding
                                                                                              continuation of hearings
06/23/21       Tracy Southwell               HLUS       490.00             0.50    245.00     Review pleading and
                                                                                              calendar date (.2);
                                                                                              calendar dates per E.
                                                                                              McNeilly email (.3)
06/24/21       Rick Wynne                    HLUS      1,550.00            2.50   3,875.00    Attend meeting with K.
                                                                                              Gavrieli and J. Reisner
                                                                                              regarding Unatins'
                                                                                              settlement overture and
                                                                                              ideas for a consensual
                                                                                              plan, IRS tax claims,
                                                                                              trustee's immediate steps
                                                                                              and working with trustee
06/24/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              J. Reisner regarding P.
                                                                                              Gilhuly settlement ideas
                                                                                              and how to proceed with
                                                                                              negotiations
06/24/21       Rahmon Brown                  HLUS       835.00             1.10    918.50     Confer with E. McNeilly
                                                                                              regarding trustee
                                                                                              appointment (.3); review
                                                                                              and analyze relevant law
                                                                                              regarding trustee
                                                                                              appointment (.8)
06/25/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne, E.
                                                                                              McNeilly and E. Escobar
                                                                                              regarding communications
                                                                                              with committee, U.S.
                                                                                              Trustee and with parties in
                                                                                              connection with trustee
                                                                                              election issues and
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Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours      Amount       Narrative
                                                                                                scheduling issues

06/25/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Review correspondence
                                                                                                regarding moving hearings
                                                                                                back due to trustee election
06/25/21       Edward Joseph                 HLUS       875.00             0.30      262.50     Emails with S. Chenetz, P.
               McNeilly                                                                         Gilhuly and E. Escobar
                                                                                                regarding hearing
                                                                                                scheduling and stipulation
                                                                                                to continue hearings
06/28/21       Edward Joseph                 HLUS       875.00             0.80      700.00     Draft stipulation to
               McNeilly                                                                         continue hearings
                                                                                                scheduled for 7/14/21
06/29/21       Edward Joseph                 HLUS       875.00             0.50      437.50     Revise stipulation to
               McNeilly                                                                         continue hearings (.1);
                                                                                                prepare execution version
                                                                                                of stipulation to continue
                                                                                                hearings and send to
                                                                                                signatories (.2); begin
                                                                                                drafting order approving
                                                                                                stipulation (.2)
06/30/21       Bennett Spiegel               HLUS      1,310.00            0.30      393.00     Telephone conference with
                                                                                                R. Wynne regarding report
                                                                                                on conference with J.
                                                                                                Reisner and debtor on case
                                                                                                issues and pending
                                                                                                settlement discussions
                                                                                                with Unatins
06/30/21       Edward Joseph                 HLUS       875.00             0.20      175.00     Draft order approving
               McNeilly                                                                         stipulation to continue
                                                                                                hearings
06/30/21       Tracy Southwell               HLUS       490.00             2.00      980.00     Prepare notice of lodgment
                                                                                                regarding stipulation to
                                                                                                continue matters (.5);
                                                                                                prepare stipulation to
                                                                                                continue hearings for ECF
                                                                                                filing (.4); prepare proof of
                                                                                                service (.1); finalize order
                                                                                                (.2); ECF file documents
                                                                                                and upload order (.6);
                                                                                                coordinate chambers
                                                                                                package and mail service
                                                                                                (.2)
                                                      Subtotal          17.90     20,575.00
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B120 - Asset Analysis and Recovery

Date           Name                          LLP          Rate          Hours     Amount       Narrative
06/08/21       Jonathan Leitch                HLI      1,285.00            0.10     128.50     Email with E. McNeilly
                                                                                               regarding next steps on
                                                                                               Hong Kong recognition
06/09/21       Jonathan Leitch                HLI      1,285.00            0.30     385.50     Emails with Hogan Lovells
                                                                                               team regarding case
                                                                                               update, appointment of
                                                                                               trustee in the United
                                                                                               States, and next steps
                                                                                               regarding Hong Kong fund
                                                                                               recovery actions
06/17/21       Bennett Spiegel               HLUS      1,310.00            0.50     655.00     Telephone conference with
                                                                                               G. Seli regarding status
                                                                                               update (.3); e-mail
                                                                                               correspondence regarding
                                                                                               potential trustee election
                                                                                               (.2)
06/24/21       Jonathan Leitch                HLI      1,285.00            0.10     128.50     Review R. Wynne email
                                                                                               update on trustee
                                                                                               appointment actions in the
                                                                                               United States and impact
                                                                                               on timing for commencing
                                                                                               Hong Kong action for
                                                                                               recovery of funds in bank
                                                                                               accounts
                                                      Subtotal             1.00   1,297.50

B150 - Meetings of and Communications with Creditors

Date           Name                          LLP          Rate          Hours     Amount       Narrative
06/05/21       Edward Joseph                 HLUS       875.00             0.20     175.00     Email with committee
               McNeilly                                                                        regarding sur-replies and
                                                                                               order to show cause
                                                                                               hearing
06/07/21       Rick Wynne                    HLUS      1,550.00            0.30     465.00     Telephone conference with
                                                                                               P. Gilhuly regarding
                                                                                               hearing and possible
                                                                                               outcomes, and plan going
                                                                                               forward
06/08/21       Rick Wynne                    HLUS      1,550.00            0.30     465.00     Telephone conference with
                                                                                               P. Gilhuly regarding trying
                                                                                               to coordinate on trustee
                                                                                               candidates and next steps
                                                                                               in case
06/09/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Telephone conference with
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B150 - Meetings of and Communications with Creditors

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              P. Gilhuly regarding
                                                                                              trustee candidates to
                                                                                              present to the U.S. Trustee
06/10/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              P. Gilhuly regarding
                                                                                              trustee candidates, their
                                                                                              list for the U.S. Trustee and
                                                                                              seeking official creditors
                                                                                              committee agreement
06/14/21       Edward Joseph                 HLUS       875.00             0.60    525.00     Draft email to committee
               McNeilly                                                                       regarding trustee selection
                                                                                              and chapter 11 trustee
                                                                                              election process
06/15/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    Review R. Wynne e-mail
                                                                                              correspondence with
                                                                                              creditors regarding trustee
                                                                                              election process
06/15/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Call and correspondence to
                                                                                              D. Nir regarding trustee
                                                                                              election issues
06/15/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Call and correspondence
                                                                                              with A. Upadhyaya
                                                                                              regarding trustee election
                                                                                              issues and candidates
06/17/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Calls and correspondence
                                                                                              with creditors H.
                                                                                              Zimmerman, L. Abraham
                                                                                              and D. Nir regarding follow
                                                                                              up on trustee election
                                                                                              issues and possible other
                                                                                              candidates
06/21/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              P. Gilhuly regarding
                                                                                              trustee selection and
                                                                                              election issues
06/21/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              E. Escobar regarding
                                                                                              trustee election issues and
                                                                                              scheduling 341(a) meeting
06/23/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence to IRS
                                                                                              regarding trustee election
                                                                                              and their claim
06/23/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Telephone conference with
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B150 - Meetings of and Communications with Creditors

Date           Name                          LLP          Rate          Hours     Amount       Narrative
                                                                                               P. Gilhuly regarding
                                                                                               settlement ideas and
                                                                                               options, trustee elections
                                                                                               and his clients' views
06/23/21       Edward Joseph                 HLUS       875.00             0.40     350.00     Draft email to N. Shariff
               McNeilly                                                                        regarding IRS claims
06/24/21       Rick Wynne                    HLUS      1,550.00            0.30     465.00     Revise correspondence to
                                                                                               E. Escobar
06/25/21       Rick Wynne                    HLUS      1,550.00            0.10     155.00     Telephone conference with
                                                                                               P. Gilhuly regarding
                                                                                               settlement ideas, and
                                                                                               follow up call with P.
                                                                                               Gilhuly regarding same
06/25/21       Rick Wynne                    HLUS      1,550.00            0.30     465.00     Telephone conference with
                                                                                               P. Gilhuly regarding
                                                                                               settlement ideas
06/28/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Correspondence with P.
                                                                                               Gilhuly and J. Reisner
                                                                                               regarding settlement
06/30/21       Rick Wynne                    HLUS      1,550.00            0.50     775.00     Telephone conference with
                                                                                               P. Gilhuly regarding
                                                                                               settlement options, plan,
                                                                                               Hong Kong, appeal and
                                                                                               adversary
                                                      Subtotal             6.10   8,621.00

B160 - Fee/Employment Applications

Date           Name                          LLP          Rate          Hours     Amount       Narrative
06/08/21       Edward Joseph                 HLUS       875.00             0.30     262.50     Emails with K. Lyman and
               McNeilly                                                                        G. Seli regarding April
                                                                                               monthly fee applications
06/10/21       Bennett Spiegel               HLUS      1,310.00            0.20     262.00     E-mail correspondence
                                                                                               with E. McNeilly regarding
                                                                                               preparation of monthly fee
                                                                                               statement
06/25/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Review application to
                                                                                               employ Perkins Coie
06/28/21       Edward Joseph                 HLUS       875.00             0.10       87.50    Email with G. Seli
               McNeilly                                                                        regarding monthly
                                                                                               operating report and KGI
                                                                                               fee application
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B160 - Fee/Employment Applications

Date           Name                          LLP          Rate         Hours     Amount       Narrative
06/29/21       Edward Joseph                 HLUS       875.00            0.90     787.50     Review Gavrieli invoices
               McNeilly                                                                       for fee application (.2);
                                                                                              telephone conference with
                                                                                              G. Seli regarding KGI fee
                                                                                              application (.2); review
                                                                                              Hogan Lovells and KGI fee
                                                                                              applications (.3); follow up
                                                                                              telephone conference and
                                                                                              email with G. Seli
                                                                                              regarding KGI fee
                                                                                              application (.1); review
                                                                                              updated draft of Hogan
                                                                                              Lovells fee application (.1)
06/29/21       Rahmon Brown                  HLUS       835.00            3.50    2,922.50    Draft Hogan Lovells and
                                                                                              KGI fee applications and
                                                                                              notices for same (2.9);
                                                                                              email communications
                                                                                              with Hogan Lovells team
                                                                                              regarding fee application
                                                                                              exhibits (.6)
06/30/21       Edward Joseph                 HLUS       875.00            0.10       87.50    Review and finalize fee
               McNeilly                                                                       applications
06/30/21       Rahmon Brown                  HLUS       835.00            1.40    1,169.00    Revise and finalize Hogan
                                                                                              Lovells and KGI fee
                                                                                              applications (1.1); email
                                                                                              Hogan Lovells team
                                                                                              regarding filing fee
                                                                                              applications (.3)
06/30/21       Tracy Southwell               HLUS       490.00            2.40    1,176.00    Prepare certificates of
                                                                                              service of Hogan Lovells
                                                                                              and KGI monthly fee
                                                                                              applications and notices
                                                                                              (.3); prepare Hogan
                                                                                              Lovells monthly fee
                                                                                              statement and notice for
                                                                                              ECF filing and file same
                                                                                              (.9); prepare KGI monthly
                                                                                              fee statement and notice
                                                                                              for ECF filing and file same
                                                                                              (.8); prepare certificate of
                                                                                              service (.1); coordinate
                                                                                              chambers package and
                                                                                              service via U.S. mail (.3)
                                                      Subtotal            9.10   7,064.50
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B170 - Fee/Employment Objections

Date           Name                          LLP          Rate          Hours      Amount      Narrative
06/09/21       Edward Joseph                 HLUS       875.00             0.20      175.00    Emails with B. Spiegel
               McNeilly                                                                        regarding fee objections
                                                      Subtotal             0.20     175.00

B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours      Amount      Narrative
05/01/21       Rick Wynne                    HLUS      1,550.00             1.10   1,705.00    Draft opposition to ex
                                                                                               parte by Unatins, including
                                                                                               review of ex parte and
                                                                                               supplement to ex parte,
                                                                                               and correspondence with
                                                                                               B. Spiegel, E. McNeilly and
                                                                                               creditors committee
                                                                                               members regarding same
05/01/21       Rick Wynne                    HLUS      1,550.00            0.40     620.00     Prepare further changes to
                                                                                               ex parte and stipulation,
                                                                                               and correspondence to
                                                                                               creditors committee and
                                                                                               debtor counsel regarding
                                                                                               same
06/01/21       Bennett Spiegel               HLUS      1,310.00            0.50     655.00     Telephone conference with
                                                                                               J. Reisner regarding
                                                                                               preparation for hearing on
                                                                                               order to show cause
                                                                                               regarding trustee and
                                                                                               approach to pending 9019
                                                                                               motion (.4); follow up e-
                                                                                               mail correspondence with
                                                                                               E. McNeilly regarding
                                                                                               same (.1)
06/01/21       Bennett Spiegel               HLUS      1,310.00            0.30     393.00     Review U.S. Trustee
                                                                                               response to order to show
                                                                                               cause regarding
                                                                                               appointment of trustee and
                                                                                               follow up e-mail
                                                                                               correspondence regarding
                                                                                               same with debtor counsel
                                                                                               and committee
                                                                                               professionals
06/01/21       Edward Joseph                 HLUS       875.00             0.50      437.50    Draft response on 9019
               McNeilly                                                                        motion
06/02/21       Bennett Spiegel               HLUS      1,310.00            6.60    8,646.00    Prepare sur-reply and
                                                                                               related ex parte application
                                                                                               on order to show cause
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              regarding appointment of
                                                                                              chapter 11 trustee
06/02/21       Tracy Southwell               HLUS       490.00             2.70   1,323.00    Prepare set of order to
                                                                                              show cause materials and
                                                                                              distribution of same (1.2);
                                                                                              prepare hearing binder
                                                                                              regarding order to show
                                                                                              cause for Bennett Spiegel
                                                                                              (1.3); coordinate case pull
                                                                                              regarding same (.2)
06/03/21       Bennett Spiegel               HLUS      1,310.00            0.60    786.00     Telephone conference with
                                                                                              R. Wynne and J. Reisner
                                                                                              regarding potential request
                                                                                              for permission to file sur-
                                                                                              reply and extension of
                                                                                              hearing date
06/03/21       Bennett Spiegel               HLUS      1,310.00            0.80   1,048.00    Telephone conference and
                                                                                              e-mail correspondence
                                                                                              with A. Sher and debtor
                                                                                              counsel regarding
                                                                                              preparation of ex parte
                                                                                              application to file sur-reply
                                                                                              brief
06/03/21       Bennett Spiegel               HLUS      1,310.00            4.60   6,026.00    Prepare ex parte
                                                                                              application to file sur-reply
                                                                                              brief and prepare sur-reply
                                                                                              brief, including telephone
                                                                                              conference and e-mail
                                                                                              correspondence with
                                                                                              Hogan Lovells team
                                                                                              regarding same
06/03/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Telephone conference with
                                                                                              S. Green regarding trustee
                                                                                              order to show cause issues,
                                                                                              financial investigation next
                                                                                              steps, Hong Kong money
                                                                                              recovery, and hearing
                                                                                              preparation and possible
                                                                                              need for G. Seli testimony
06/03/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Review Unatin reply
                                                                                              papers to trustee order to
                                                                                              show cause opposition
06/03/21       Edward Joseph                 HLUS       875.00             5.20   4,550.00    Telephone conference with
               McNeilly                                                                       B. Spiegel regarding sur-
                                                                                              reply (.1); additional
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              telephone conferences with
                                                                                              B. Spiegel regarding sur-
                                                                                              reply (1.0); telephone
                                                                                              conference with R. Brown
                                                                                              regarding sur-reply (.3);
                                                                                              draft sur-reply (3.8)
06/03/21       Tracy Southwell               HLUS       490.00             2.00    980.00     Prepare order to show
                                                                                              cause hearing materials for
                                                                                              R. Wynne
06/04/21       Bennett Spiegel               HLUS      1,310.00            4.60   6,026.00    E-mail correspondence
                                                                                              with E. McNeilly, R.
                                                                                              Wynne, committee
                                                                                              members, G. Seli and J.
                                                                                              Reisner regarding
                                                                                              preparation of sur-reply,
                                                                                              collect comments and
                                                                                              finalize same (4.2);
                                                                                              telephone conference and
                                                                                              e-mail correspondence
                                                                                              with A. Sher and E.
                                                                                              McNeilly regarding
                                                                                              preparation of ex parte
                                                                                              application to file sur-reply
                                                                                              and finalize same (.4)
06/04/21       Bennett Spiegel               HLUS      1,310.00            1.70   2,227.00    Review Gavrieli ex parte
                                                                                              application to file sur-
                                                                                              reply, order granting same,
                                                                                              and sur-reply as filed
06/04/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Review committee sur-
                                                                                              reply on order to show
                                                                                              cause
06/04/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              J. Reisner regarding debtor
                                                                                              and creditors committee
                                                                                              sur-reply issues
06/04/21       Rick Wynne                    HLUS      1,550.00            0.50     775.00    Telephone conference with
                                                                                              B. Spiegel regarding sur-
                                                                                              reply changes and issues,
                                                                                              including 9019 reply by
                                                                                              debtor and R. Wynne
                                                                                              providing a declaration
06/04/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              P. Gilhuly regarding
                                                                                              trustee order to show cause
                                                                                              and sur replies, and
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              mediation issues

06/04/21       Edward Joseph                 HLUS       875.00             5.30   4,637.50    Telephone conferences
               McNeilly                                                                       with B. Spiegel regarding
                                                                                              sur-reply (.4); revise and
                                                                                              finalize sur-reply (4.0);
                                                                                              revise and finalize ex parte
                                                                                              application (.5); prepare
                                                                                              proof of service and file
                                                                                              and serve ex parte
                                                                                              application (.3); telephone
                                                                                              conference with court clerk
                                                                                              regarding filing (.1)
06/04/21       Tracy Southwell               HLUS       490.00             1.90    931.00     Emails with E. McNeilly
                                                                                              regarding filings and
                                                                                              service of sur-reply (.2);
                                                                                              prepare and upload order,
                                                                                              including technical issues
                                                                                              (.5); prepare proof of
                                                                                              service for sur-reply (.2);
                                                                                              prepare and ECF file sur-
                                                                                              reply (.4); coordinate
                                                                                              delivery to chambers (.4);
                                                                                              coordinate service of same
                                                                                              (.2)
06/05/21       Bennett Spiegel               HLUS      1,310.00            0.90   1,179.00    Telephone conference with
                                                                                              Hogan Lovells team and
                                                                                              debtor counsel regarding
                                                                                              preparation for 6/8/21
                                                                                              hearing
06/05/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Review and comment on
                                                                                              draft outline for argument
                                                                                              at 6/8/21 hearing
06/05/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Telephone conference and
                                                                                              e-mail correspondence
                                                                                              with G. Seli regarding
                                                                                              appearance at and
                                                                                              preparation for 6/8/21
                                                                                              hearing
06/05/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              debtors counsel regarding
                                                                                              trustee hearing issues
06/05/21       Edward Joseph                 HLUS       875.00             2.20   1,925.00    Telephone conference with
               McNeilly                                                                       R. Wynne, B. Spiegel, J.
                                                                                              Reisner and W. Lobel
                                                                                              regarding preparation for
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              order to show cause
                                                                                              hearing (.8); email with R.
                                                                                              Wynne attaching and
                                                                                              summarizing key cases for
                                                                                              order to show cause
                                                                                              hearing (.3); prepare
                                                                                              argument outline for order
                                                                                              to show cause hearing (1.1)
06/05/21       Edward Joseph                 HLUS       875.00             0.10      87.50    Email with R. Wynne and
               McNeilly                                                                       B. Spiegel regarding order
                                                                                              to show cause hearing
06/06/21       Bennett Spiegel               HLUS      1,310.00            0.80   1,048.00    E-mail correspondence
                                                                                              with Hogan Lovells team
                                                                                              and debtor counsel
                                                                                              regarding preparation of
                                                                                              reply and supporting
                                                                                              declaration regarding 9019
                                                                                              motion
06/06/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              settlement proposal for the
                                                                                              Unatins
06/06/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              P. Gilhuly and D. Schecter
                                                                                              regarding debtor
                                                                                              settlement proposal
06/06/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              judicial notice cases
06/06/21       Rick Wynne                    HLUS      1,550.00            3.50   5,425.00    Review pleadings filed on
                                                                                              order to show cause
                                                                                              regarding trustee, replies,
                                                                                              sur-replies, declarations,
                                                                                              and key cases cited, and
                                                                                              prepare argument outline
06/07/21       Bennett Spiegel               HLUS      1,310.00            3.80   4,978.00    Review pleadings in
                                                                                              preparation for 6/8/21
                                                                                              hearing on order to show
                                                                                              cause regarding
                                                                                              appointment of trustee
                                                                                              (1.8); telephone conference
                                                                                              with R. Wynne regarding
                                                                                              same (.4); telephone
                                                                                              conference with G. Seli
                                                                                              regarding same (.5);
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Kfir Gavrieli Official Creditors Committee

B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              telephone conference with
                                                                                              R. Wynne, J. Reisner and
                                                                                              W. Lobel regarding same
                                                                                              (1.1)
06/07/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     E-mail correspondence
                                                                                              regarding review and
                                                                                              finalize reply in support of
                                                                                              9019 motion, including
                                                                                              Wynne and Lobel
                                                                                              declarations
06/07/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              with E. McNeilly regarding
                                                                                              preparation of committee
                                                                                              joinder in debtor reply in
                                                                                              support of 9019 motion
06/07/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Review and revise Wynne
                                                                                              declaration regarding 9019
                                                                                              motion
06/07/21       Edward Joseph                 HLUS       875.00             0.50    437.50     Draft and file joinder to
               McNeilly                                                                       9019 motion
06/08/21       Bennett Spiegel               HLUS      1,310.00            0.70    917.00     Telephone conference with
                                                                                              R. Wynne regarding follow
                                                                                              up on potential trustee
                                                                                              candidates (.2); telephone
                                                                                              conference with G. Seli
                                                                                              regarding follow up on
                                                                                              hearing on order to show
                                                                                              cause regarding trustee
                                                                                              and next steps (.5)
06/08/21       Rick Wynne                    HLUS      1,550.00            1.00   1,550.00    Follow up Zoom meeting
                                                                                              with B. Spiegel and E.
                                                                                              McNeilly regarding order
                                                                                              to show cause hearing and
                                                                                              next steps, and list of
                                                                                              possible trustee candidates
                                                                                              to present to U.S. Trustee
06/08/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference and
                                                                                              correspondence with
                                                                                              potential trustee candidate
                                                                                              regarding U.S. Trustee
                                                                                              interview process and case
                                                                                              background
06/08/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conferences
                                                                                              with J. Reisner and W.
                                                                                              Lobel regarding order to
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Kfir Gavrieli Official Creditors Committee

B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              show cause hearing
                                                                                              decision
06/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              R. Kors regarding hearing
                                                                                              results and possible trustee
                                                                                              role
06/08/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              R. Itkin regarding hearing
                                                                                              results and possible trustee
                                                                                              role
06/08/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Review panel trustee list

06/08/21       Edward Joseph                 HLUS       875.00             1.50   1,312.50    Attend meeting with R.
               McNeilly                                                                       Wynne, B. Spiegel and
                                                                                              (partially) J. Reisner and
                                                                                              W. Lobel regarding next
                                                                                              steps following order to
                                                                                              appoint of chapter 11
                                                                                              trustee (1.1); draft email to
                                                                                              prospective trustee
                                                                                              candidates regarding case
                                                                                              (.4)
06/09/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     Telephone conference and
                                                                                              e-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              communication with U.S.
                                                                                              Trustee potential
                                                                                              candidates for chapter 11
                                                                                              trustee
06/09/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     E-mail correspondence
                                                                                              with Hogan Lovells team,
                                                                                              R. Wynne and H.
                                                                                              Ehrenberg regarding
                                                                                              follow up on hearing
                                                                                              regarding appointment of
                                                                                              chapter 11 trustee
06/09/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              J. Reisner and W. Lobel
                                                                                              regarding why they should
                                                                                              not seek to appeal trustee
                                                                                              ruling
06/10/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne and H.
                                                                                              Ehrenberg regarding U.S.
                                                                                              Trustee interviews of
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              potential chapter 11 trustee
                                                                                              candidates
06/10/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Prepare correspondence to
                                                                                              E. Escobar regarding
                                                                                              Unatin suggested
                                                                                              candidates, and follow up
                                                                                              call regarding trustee
                                                                                              interview process
06/11/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              communication with
                                                                                              potential chapter 11 trustee
                                                                                              candidates
06/11/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              regarding U.S. Trustee
                                                                                              proposed stipulation
                                                                                              regarding continuance of
                                                                                              pending hearings
06/11/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              J. Reisner regarding U.S.
                                                                                              Trustee interview process
06/11/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              P. Gilhuly regarding U.S.
                                                                                              Trustee interview process
06/11/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              B. Sharp regarding case
                                                                                              background and future
                                                                                              steps needed
06/11/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              G. Berman regarding U.S.
                                                                                              Trustee interview of B.
                                                                                              Sharp
06/11/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              E. Escobar regarding
                                                                                              conflict issues with trustee
                                                                                              candidates, and stipulation
                                                                                              to continue hearings
06/13/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding
                                                                                              potential trustee election
06/14/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne and E.
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              McNeilly regarding chapter
                                                                                              11 trustee election process
                                                                                              issues
06/14/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding draft
                                                                                              request for election of
                                                                                              chapter 11 trustee and
                                                                                              potential participating
                                                                                              creditor
06/14/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conferences
                                                                                              with E. McNeilly regarding
                                                                                              trustee election issues,
                                                                                              potentially supportive
                                                                                              creditors, rules, insiders
                                                                                              and disallowed claims
06/14/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              candidates interviewed by
                                                                                              U.S. Trustee
06/14/21       Rick Wynne                    HLUS      1,550.00            0.60    930.00     Review articles on trustee
                                                                                              election (U.S. Trustee,
                                                                                              Department of Justice
                                                                                              article) and bankruptcy
                                                                                              rules regarding same
06/14/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence with
                                                                                              potential trustee
                                                                                              candidates regarding U.S.
                                                                                              Trustee interview process
                                                                                              for trustees
06/14/21       Edward Joseph                 HLUS       875.00             3.30   2,887.50    Analyze trustee election
               McNeilly                                                                       requirements and strategy
                                                                                              and send memorandum to
                                                                                              R. Wynne and B. Spiegel
                                                                                              regarding same (1.2);
                                                                                              telephone conference with
                                                                                              J. Reisner regarding
                                                                                              trustee election (.2);
                                                                                              telephone conference with
                                                                                              R. Wynne and J. Reisner
                                                                                              regarding trustee election
                                                                                              (.3); prepare detailed
                                                                                              analysis of IRS eligibility to
                                                                                              vote and count in quorum
                                                                                              for chapter 11 trustee
                                                                                              election (.9); draft request
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              for chapter 11 trustee
                                                                                              election (.6); telephone
                                                                                              conference with R. Wynne
                                                                                              regarding trustee election
                                                                                              (.1)
06/16/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     Review notice of
                                                                                              appointment of chapter 11
                                                                                              trustee and related U.S.
                                                                                              Trustee application and
                                                                                              declarations, and e-mail
                                                                                              correspondence regarding
                                                                                              potential election of new
                                                                                              trustee and related creditor
                                                                                              stipulation
06/16/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     Telephone conference with
                                                                                              R. Wynne regarding
                                                                                              update on potential trustee
                                                                                              interview process and
                                                                                              potential election
06/16/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Call and correspondence
                                                                                              with E. McNeilly regarding
                                                                                              trustee election issues,
                                                                                              procedure and creditors to
                                                                                              determine if they will
                                                                                              support an election
06/16/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              trustee election issues, and
                                                                                              possible candidates
06/16/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              potential trustee candidate
                                                                                              regarding possible trustee
                                                                                              position
06/16/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              W. Lobel regarding appeal
                                                                                              issues
06/16/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              potential trustee candidate
                                                                                              regarding trustee position
06/16/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              potential trustee candidate
                                                                                              regarding possible trustee
                                                                                              position in case
06/16/21       Edward Joseph                 HLUS       875.00             1.00    875.00     Revise trustee election
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Kfir Gavrieli Official Creditors Committee

B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
               McNeilly                                                                       request (.5); telephone
                                                                                              conference with R. Wynne
                                                                                              regarding same (.1); email
                                                                                              with T. Southwell
                                                                                              regarding eligible creditor
                                                                                              matrix (.4)
06/17/21       Edward Joseph                 HLUS       875.00             1.10    962.50     Prepare trustee election
               McNeilly                                                                       filings
06/18/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              with E. McNeilly regarding
                                                                                              filing and follow up on
                                                                                              request for trustee election
06/18/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Calls and correspondence
                                                                                              with E. McNeilly regarding
                                                                                              signatures on request for
                                                                                              election
06/18/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Review notice of request
                                                                                              for election to U.S. Trustee
06/18/21       Rick Wynne                    HLUS      1,550.00            0.60    930.00     Call and correspondence
                                                                                              with S. Chenetz regarding
                                                                                              election, interview process
                                                                                              to be set up, her views on
                                                                                              case and progress she
                                                                                              would like to make
06/18/21       Edward Joseph                 HLUS       875.00             1.30   1,137.50    Prepare trustee election
               McNeilly                                                                       filings (1.1); telephone
                                                                                              conference with R. Wynne
                                                                                              regarding same (.2)
06/19/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    Review initial outline of
                                                                                              interview of trustee
                                                                                              candidates
06/19/21       Edward Joseph                 HLUS       875.00             0.20     175.00    Draft interview questions
               McNeilly                                                                       for potential chapter 11
                                                                                              trustees
06/23/21       Bennett Spiegel               HLUS      1,310.00            0.80   1,048.00    E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding
                                                                                              preparation of
                                                                                              communication to IRS,
                                                                                              U.S. Trustee and
                                                                                              committee in connection
                                                                                              with trustee election issues
06/23/21       Bennett Spiegel               HLUS      1,310.00            0.70    917.00     Telephone conference with
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours      Amount       Narrative
                                                                                                R. Wynne and E. McNeilly
                                                                                                regarding tasks in
                                                                                                connection with trustee
                                                                                                election, pending motion,
                                                                                                and advice to committee
06/23/21       Edward Joseph                 HLUS       875.00             1.40     1,225.00    Prepare agenda for
               McNeilly                                                                         telephone conference with
                                                                                                R. Wynne and B. Spiegel
                                                                                                regarding upcoming case
                                                                                                tasks and deadlines,
                                                                                                including trustee election
                                                                                                (.1); telephone conference
                                                                                                with R. Wynne and B.
                                                                                                Spiegel regarding
                                                                                                upcoming case tasks and
                                                                                                deadlines, including
                                                                                                trustee election (.6); draft
                                                                                                email to committee
                                                                                                regarding trustee election
                                                                                                issues (.3); revise email to
                                                                                                committee regarding
                                                                                                trustee election issues (.2);
                                                                                                email with R. Brown
                                                                                                regarding preparation of
                                                                                                monthly fee applications
                                                                                                and trustee election
                                                                                                proxies (.2)
06/24/21       Bennett Spiegel               HLUS      1,310.00            0.10       131.00    E-mail correspondence
                                                                                                with G. Seli regarding
                                                                                                status update on trustee
                                                                                                election
06/24/21       Edward Joseph                 HLUS       875.00             1.80     1,575.00    Telephone conference with
               McNeilly                                                                         R. Brown regarding trustee
                                                                                                election proxies (.2); email
                                                                                                with R. Brown regarding
                                                                                                same (.1); draft letter to E.
                                                                                                Escobar regarding trustee
                                                                                                election (1.5)
06/29/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Telephone conference with
                                                                                                E. McNeilly regarding
                                                                                                abstention issue
06/29/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Telephone conference with
                                                                                                R. Itkin regarding trustee
                                                                                                election
                                                      Subtotal          81.40     94,685.00
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B240 - Tax Issues

Date           Name                          LLP          Rate          Hours     Amount      Narrative
06/28/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              L. Taylor, S. Toscher and J.
                                                                                              Reisner regarding tax
                                                                                              changes of IRS, OVDP
                                                                                              (offshore voluntary
                                                                                              disclosure program) and
                                                                                              revised amounts
                                                      Subtotal             0.50    775.00

B260 - Committee Governance and Meetings

Date           Name                          LLP          Rate          Hours     Amount      Narrative
06/07/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Prepare substantial update
                                                                                              to committee members
                                                                                              regarding hearing
                                                                                              preparation and outline of
                                                                                              issues to cover, sur-reply
                                                                                              papers and declarations
                                                                                              filed, review questions
                                                                                              from committee members
                                                                                              and respond to same
06/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Prepare update to creditors
                                                                                              committee regarding
                                                                                              hearing results and review
                                                                                              reply correspondence
                                                                                              regarding same, and set up
                                                                                              a Friday meeting to discuss
                                                                                              next steps
06/11/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Attend meeting of
                                                                                              creditors committee
                                                                                              regarding trustee interview
                                                                                              process, and post hearing
                                                                                              discussion on trustee
                                                                                              election
06/11/21       Edward Joseph                 HLUS       875.00             0.70    612.50     Attend committee meeting
               McNeilly
06/14/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding
                                                                                              communications to
                                                                                              committee regarding
                                                                                              trustee election issues
06/15/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with E. McNeilly and R.
                                                                                              Wynne regarding
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B260 - Committee Governance and Meetings

Date           Name                          LLP          Rate          Hours     Amount       Narrative
                                                                                               preparation of minutes of
                                                                                               6/11/21 creditors
                                                                                               committee meeting
06/15/21       Rick Wynne                    HLUS      1,550.00            0.30     465.00     Prepare update to creditors
                                                                                               committee regarding
                                                                                               trustee selection process
                                                                                               and moving forward with
                                                                                               election
06/15/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Review and revise
                                                                                               creditors committee
                                                                                               meeting minutes
06/15/21       Edward Joseph                 HLUS       875.00             0.50     437.50     Draft minutes of 6/11/21
               McNeilly                                                                        committee meeting (.2);
                                                                                               draft and send case update
                                                                                               email to committee
                                                                                               members (.3)
06/17/21       Rick Wynne                    HLUS      1,550.00            0.10     155.00     Prepare correspondence to
                                                                                               creditors committee
                                                                                               regarding appointment of
                                                                                               trustee
06/21/21       Bennett Spiegel               HLUS      1,310.00            0.50     655.00     Telephone conference and
                                                                                               e-mail correspondence
                                                                                               with R. Wynne regarding
                                                                                               update on committee
                                                                                               process for potential
                                                                                               trustee interviews,
                                                                                               including communication
                                                                                               with S. Chenetz and U.S.
                                                                                               Trustee
06/23/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Draft committee update

06/25/21       Rick Wynne                    HLUS      1,550.00            0.80    1,240.00    Prepare and send
                                                                                               committee update
06/25/21       Edward Joseph                 HLUS       875.00             0.20     175.00     Revise email to committee
               McNeilly                                                                        regarding trustee election
                                                      Subtotal             5.80   7,829.00

B310 - Claims Administration and Objections

Date           Name                          LLP          Rate          Hours     Amount       Narrative
06/14/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Review creditor list
                                                                                               regarding trustee election
                                                                                               voting percentages and
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                                                              Date                August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No          19600006430

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Kfir Gavrieli Official Creditors Committee

B310 - Claims Administration and Objections

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              claim amounts

06/16/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Review letter from debtor
                                                                                              to IRS regarding amount of
                                                                                              claims
                                                      Subtotal             0.30   465.00

B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours     Amount      Narrative
06/01/21       Bennett Spiegel               HLUS      1,310.00            2.70   3,537.00    Review debtor further
                                                                                              amended plan, further
                                                                                              amended disclosure
                                                                                              statement, and amended
                                                                                              backstop financing
                                                                                              agreement
06/10/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    Review Unatins' objection
                                                                                              to debtor motion to extend
                                                                                              exclusivity
06/25/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Telephone conference with
                                                                                              S. Green and G. Seli
                                                                                              regarding model to create
                                                                                              for plan and settlement
                                                                                              ideas
06/26/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              negotiations with debtor
                                                                                              and Unatins regarding
                                                                                              potential points of
                                                                                              agreement for plan and
                                                                                              claims adjudication
06/28/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Telephone conference with
                                                                                              R. Wynne regarding
                                                                                              discussions with Unatins
                                                                                              and debtor counsel
                                                                                              regarding possible
                                                                                              mutually agreeable plan
                                                                                              structure
06/28/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Review settlement
                                                                                              structure outline, and call
                                                                                              with KGI and E. McNeilly
                                                                                              regarding asset values and
                                                                                              recovery timeline
06/28/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
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Kfir Gavrieli Official Creditors Committee

B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              J. Reisner regarding
                                                                                              settlement structure ideas
                                                                                              and cash flow
06/28/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              S. Green and G. Seli
                                                                                              regarding cash flow
                                                                                              projections
06/28/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              E. McNeilly regarding
                                                                                              assets and liabilities for
                                                                                              plan
06/28/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Review outline of
                                                                                              settlement ideas and
                                                                                              options, plan constraints
                                                                                              and cash flow
06/28/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding plan
                                                                                              ideas
06/28/21       Edward Joseph                 HLUS       875.00             1.20   1,050.00    Telephone conference with
               McNeilly                                                                       R. Wynne regarding
                                                                                              potential plan proposals
                                                                                              and settlements with the
                                                                                              Unatins (.3); telephone
                                                                                              conference with R. Wynne,
                                                                                              G. Seli and S. Green
                                                                                              regarding plan structuring
                                                                                              options in preparation for
                                                                                              settlement conference (.9)
06/29/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding plan
                                                                                              and settlement ideas by
                                                                                              Unatins
06/30/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              settlement discussions
                                                                                              progress
06/30/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Continued meeting with J.
                                                                                              Reisner and K. Gavrieli
                                                                                              regarding plan scenarios,
                                                                                              value and settlement
06/30/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              G. Seli regarding plan
                                                                                              projections project
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Kfir Gavrieli Official Creditors Committee

B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours      Amount       Narrative
06/30/21       Rick Wynne                    HLUS      1,550.00            0.40      620.00     Prepare outline of task list
                                                                                                of items to do for E.
                                                                                                McNeilly regarding
                                                                                                settlement
06/30/21       Rick Wynne                    HLUS      1,550.00            1.00     1,550.00    Follow up meeting with J.
                                                                                                Reisner regarding plan
06/30/21       Rick Wynne                    HLUS      1,550.00            0.50      775.00     Telephone conference with
                                                                                                J. Reisner regarding plan
                                                                                                scenarios and settlement
                                                                                                scenarios regarding appeal,
                                                                                                adversary, discussions with
                                                                                                S. Chenetz, plan
                                                                                                projections and cash flow
                                                                                                needs for the backstop, 3
                                                                                                years vs. 5 years, and
                                                                                                timing
                                                      Subtotal           11.20    15,782.00

Total Professional Services                                             170.90                           USD 196,465.00
Less Discount                                                                                                   (5,231.87)
Total Professional Services Charged                                                                       USD 191,233.13
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Kfir Gavrieli Official Creditors Committee

                                                        Summary


              Timekeeper Name                           Hours               Rate                           Fees
              Rick Wynne                                 49.90           1,550.00                      77,345.00
              Bennett Spiegel                            41.50           1,310.00                      54,365.00
              Jonathan Leitch                             0.50           1,285.00                        642.50
              Edward Joseph McNeilly                     38.00            875.00                       33,250.00
              Alex M. Sher                                6.40           1,025.00                       6,560.00
              Rahmon Brown                               21.30            835.00                       17,785.50
              Tracy Southwell                            13.30            490.00                        6,517.00
              Total Professional Services               170.90                               USD 196,465.00
              Less Discount                                                                           (5,231.87)
              Total Professional Services Charged                                             USD 191,233.13
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                                                                  Date           August 30, 2021

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Kfir Gavrieli Official Creditors Committee

                                                              Summary


           Task                 Task Code Description                          Hours                   Fees
           01                   Litigation                                      24.80              22,048.00
           05                   Hearing                                         12.60              17,148.00
           B110                 Case Administration                             17.90              20,575.00
           B120                 Asset Analysis and Recovery                      1.00               1,297.50
           B150                 Meetings of and Communications with              6.10               8,621.00
                                Creditors
           B160                 Fee/Employment Applications                      9.10               7,064.50
           B170                 Fee/Employment Objections                        0.20                 175.00
           B190                 Other Contested Matters (excluding              81.40              94,685.00
                                assumption/rejection)
           B240                 Tax Issues                                       0.50                 775.00
           B260                 Committee Governance and Meetings                5.80               7,829.00
           B310                 Claims Administration and Objections             0.30                465.00
           B320                 Plan and Disclosure Statement                   11.20              15,782.00
           Total Professional Services                                         170.90       USD 196,465.00
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                                                            Date             August 30, 2021

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                                                            Our Ref          771657.000001

Kfir Gavrieli Official Creditors Committee



Disbursement and Charges


FEDEX - Vendor:FEDEX / Cost Type:Air Freight /                                                        25.95
771657.000001/Customer#:234523155/ Tracking#:787821558732/
OfficeCode#:LACA/ ShippingDate:01/06/2021 00:00:00
FEDEX - Vendor:FEDEX / Cost Type:Air Freight /                                                       183.53
771657.000001/Customer#:445967769/ Tracking#:787874192811/
OfficeCode#:SFCA/ ShippingDate:02/06/2021 00:00:00
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Opposition                                     260.08
Report, Proof of Service for Chambers Copy
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Ex Parte                                        99.49
Application, Motion to Seal - Unredacted Motion
FEDEX - Vendor:FEDEX / Cost Type:Air Freight /                                                        43.07
771657.000001/Customer#:234523155/ Tracking#:280036572360/
OfficeCode#:LACA/ ShippingDate:04/06/2021 00:00:00
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Ex Parte                                       139.08
Application, Motion to Seal Chambers copy
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Ex Parte                                       123.68
Application, Motion to Seal Plaintiff's copy
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                    105.08
Chambers copy of Joinder
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Personally served                              109.08
copy of document delivered to Hon. Sheri Bluebond
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                    105.08
Chambers Copy
FEDEX - Vendor:FEDEX / Cost Type:Air Freight /                                                        18.56
771657.000001/Customer#:234523155/ Tracking#:280985489517/
OfficeCode#:LACA/ ShippingDate:30/06/2021 00:00:00
FEDEX - Vendor:FEDEX / Cost Type:Air Freight /                                                        18.56
771657.000001/Customer#:234523155/ Tracking#:280982492032/
OfficeCode#:LACA/ ShippingDate:30/06/2021 00:00:00
BW Copies/Printing                                                                                   203.40
Computer Research - Westlaw                                                                           414.18
Postage                                                                                                 2.91
Word Processing                                                                                       56.25


Total for Other Charges                                                                        USD 1,907.98
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                                                                                                                                     Hogan Lovells US LLP
                                                                                                                                     1999 Avenue of the Stars
                                                                                                                                     Suite 1400
                                                                                                                                     Los Angeles, CA 90067
                                                                                                                                     T +1 310 785 4600
                                                                                                                                     F +1 310 785 4601
                                                                                                                                     www.hoganlovells.com




Kfir Gavrieli Official Creditors Committee
                                                                                        Date                                         August 30, 2021
c/o KRKB Family Trust
100 De Sabla Road                                                                       Invoice No                                   19600006431
94010 Hillsborough
CA                                                                                      Our ref                                      771657.000001
Attention: Roman Margolin                                                               Partner                                      Rick Wynne
                                                                                        Email                                        rick.wynne@hoganlovells.com
                                                                                        Fed ID                                       XX-XXXXXXX



Kfir Gavrieli Official Creditors Committee

Summary                                                                                                                                                                          Amount
                                                                                                                                                                                  USD
Professional Services                                                                                                                                                             179,025.50
Less Discount                                                                                                                                                                      (4,768.13)
Total Professional Services                                                                                                                                                       174,257.37

Total Disbursements and Charges                                                                                                                                                          1,789.40

                                                                                                                                                    Subtotal                         176,046.77
                                                                                                                                                   Total Due                         176,046.77

Payment Details
Electronic payments should be sent to                                       In light of COVID-19, we are                   Check payments may be sent to:                     Payment requested
Wells Fargo Bank NA, 420 Montgomery Street                                  requesting that our clients pay                Hogan Lovells US LLP                               within 30 days from
San Francisco, CA 94104                                                     their invoice via ACH/wire                     P.O. Box 75890                                     invoice date
Account: Hogan Lovells US LLP – Operating Account                           transfer, if they are not doing so             Baltimore, MD 21275-5890
SWIFT code: WFBIUS6S Account No: 2000010688096                              already.
ABA #121000248 For Wire Transfers Only
ABA #054001220 (For ACH Transfers Only)




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International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf Frankfurt Hamburg Hanoi Ho Chi Minh City
Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey Moscow Munich New York Northern Virginia Paris Perth
Philadelphia Rome San Francisco São Paulo Shanghai Silicon Valley Singapore Sydney Tokyo Warsaw Washington, D.C. Associated Offices: Budapest Jakarta Riyadh Shanghai FTZ Ulaanbaatar
Zagreb. Business Service Centers: Johannesburg Louisville. Legal Service Center: Berlin. For more information see www.hoganlovells.com
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                                                                                                    Date                                  August 30, 2021

                                                                                                    Invoice No                            19600006431

                                                                                                    Our Ref                               771657.000001



Period July 31, 2021

                                                                                                                                  Disbursements &                                 Total
Detail by jurisdiction                                                                   Professional Services                        Charges                                     USD


Hogan Lovells US LLP                                                                                       174,257.37                               1,789.40                           176,046.77




                                                                              Total                        174,257.37                               1,789.40                           176,046.77

                                                                                                                                                                                   Charges
Disbursements & charges                                                                                                                                                             USD
Courier and Shipping Costs                                                                                                                                                                   858.16
Search Fees                                                                                                                                                                                  912.49
Document Production                                                                                                                                                                            18.75
                                                                                                                                                                Total                     1,789.40




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Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey Moscow Munich New York Northern Virginia Paris Perth
Philadelphia Rome San Francisco São Paulo Shanghai Silicon Valley Singapore Sydney Tokyo Warsaw Washington, D.C. Associated Offices: Budapest Jakarta Riyadh Shanghai FTZ Ulaanbaatar
Zagreb. Business Service Centers: Johannesburg Louisville. Legal Service Center: Berlin. For more information see www.hoganlovells.com
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Kfir Gavrieli Official Creditors Committee                    Invoice No           19600006431

                                                              Our Ref              771657.000001

Kfir Gavrieli Official Creditors Committee

                                                    Professional Services

01 - Litigation

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/08/21       Edward Joseph                 HLUS        875.00            0.80     700.00     Prepare email analysis for
               McNeilly                                                                        R. Wynne and B. Spiegel of
                                                                                               potential subordination
                                                                                               adversary proceeding
                                                                                               against the Unatins
07/09/21       Edward Joseph                 HLUS        875.00            1.90    1,662.50    Analyze facts supporting
               McNeilly                                                                        subordination complaint
                                                                                               (1.3); telephone conference
                                                                                               with G. Seli regarding
                                                                                               outside investments (.3);
                                                                                               telephone conference with
                                                                                               R. Wynne and B. Spiegel
                                                                                               regarding subordination
                                                                                               adversary complaint
                                                                                               against Unatins (.3)
07/11/21       Edward Joseph                 HLUS        875.00            3.70    3,237.50    Telephone conference with
               McNeilly                                                                        B. Spiegel regarding
                                                                                               subordination adversary
                                                                                               complaint (1.1); email with
                                                                                               R. Wynne regarding same
                                                                                               (.1); research and draft
                                                                                               subordination complaint
                                                                                               (2.5)
07/12/21       Edward Joseph                 HLUS        875.00            0.40     350.00     Research and draft
               McNeilly                                                                        subordination complaint
07/20/21       Edward Joseph                 HLUS        875.00            0.70      612.50    Draft subordination
               McNeilly                                                                        adversary complaint
                                                                                               against the Unatins
07/21/21       Edward Joseph                 HLUS        875.00            3.30    2,887.50    Draft subordination
               McNeilly                                                                        adversary complaint
                                                                                               against Unatins and send
                                                                                               to R. Wynne and B. Spiegel
                                                      Subtotal          10.80     9,450.00

05 - Hearing

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/14/21       Bennett Spiegel               HLUS      1,310.00            0.80    1,048.00    Appear at Zoom hearing
                                                                                               before Judge Bluebond
                                                                                               regarding motion to seal
07/14/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Telephone conference with
                                                                                               B. Spiegel regarding
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                                                              Date                 August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No           19600006431

                                                              Our Ref              771657.000001

Kfir Gavrieli Official Creditors Committee

05 - Hearing

Date           Name                          LLP          Rate          Hours     Amount       Narrative
                                                                                               hearing results and
                                                                                               questions by Judge
                                                                                               Bluebond
                                                      Subtotal             1.00   1,358.00

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/01/21       Bennett Spiegel               HLUS      1,310.00            0.50     655.00     Telephone conference with
                                                                                               R. Wynne and E. McNeilly
                                                                                               regarding tasks in
                                                                                               connection with trustee
                                                                                               election and settlement
                                                                                               discussions with Unatins
07/01/21       Rahmon Brown                  HLUS       835.00             0.30     250.50     Confer with E. McNeilly
                                                                                               regarding trustee
                                                                                               appointment
07/01/21       Tracy Southwell               HLUS       490.00             0.50     245.00     Prepare calendar notices
                                                                                               for revised hearing and
                                                                                               response dates per
                                                                                               stipulation
07/05/21       Rahmon Brown                  HLUS       835.00             0.20     167.00     Email with E. McNeilly
                                                                                               regarding proxies
07/06/21       Rick Wynne                    HLUS      1,550.00            1.20   1,860.00     Attend meeting with M.
                                                                                               Shinderman regarding
                                                                                               Gavrieli background
07/06/21       Rahmon Brown                  HLUS       835.00             7.10   5,928.50     Draft powers of attorney
                                                                                               for trustee election and
                                                                                               confer with E. McNeilly
                                                                                               regarding same (3.8); draft
                                                                                               objection to proof of claim
                                                                                               (3.3)
07/07/21       Rahmon Brown                  HLUS       835.00             5.60   4,676.00     Draft and revise powers of
                                                                                               attorney for trustee
                                                                                               election and email Hogan
                                                                                               Lovells team regarding
                                                                                               same (1.8); draft objection
                                                                                               to proofs of claim and
                                                                                               notice and declaration
                                                                                               regarding same (3.1); email
                                                                                               E. McNeilly regarding
                                                                                               objections (.2); draft proxy
                                                                                               chart (.5)
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                                                              Our Ref             771657.000001

Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/08/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Telephone conference with
                                                                                              R. Kors regarding Gavrieli
                                                                                              pleadings and his
                                                                                              questions on background
                                                                                              issues
07/08/21       Rahmon Brown                  HLUS       835.00             2.40   2,004.00    Update proxy chart and
                                                                                              email Hogan Lovells team
                                                                                              regarding same (.5); revise
                                                                                              objection and declaration
                                                                                              (1.9)
07/09/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              B. Spiegel and E. McNeilly
                                                                                              regarding next steps
                                                                                              following trustee election
07/09/21       Edward Joseph                 HLUS       875.00             0.70     612.50    Multiple emails with
               McNeilly                                                                       creditors, R. Wynne and R.
                                                                                              Brown regarding trustee
                                                                                              election (.6); email with R.
                                                                                              Brown regarding disputing
                                                                                              claims at trustee election
                                                                                              (.1)
07/09/21       Rahmon Brown                  HLUS       835.00             0.60     501.00    Revise proxy chart and
                                                                                              email Hogan Lovells team
                                                                                              regarding same
07/10/21       Rahmon Brown                  HLUS       835.00             4.10   3,423.50    Review and analyze case
                                                                                              law regarding trustee
                                                                                              election vote rules and
                                                                                              objections and email
                                                                                              Hogan Lovells team
                                                                                              regarding same (3.2);
                                                                                              update and revise proxy
                                                                                              chart and email Hogan
                                                                                              Lovells team regarding
                                                                                              same (.9)
07/12/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Multiple calls with J.
                                                                                              Reisner regarding renewed
                                                                                              request for K. Gavrieli to
                                                                                              meet with other three
                                                                                              candidates, status update,
                                                                                              and IRS views
07/12/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              outline of plan by S.
                                                                                              Chenetz, business
                                                                                              information request by S.
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Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              Coffey, and questions to
                                                                                              ensure are asked
07/12/21       Rahmon Brown                  HLUS       835.00             3.20   2,672.00    Review and analyze case
                                                                                              law regarding standing
                                                                                              (2.4); email Hogan Lovells
                                                                                              team regarding standing
                                                                                              research (.8)
07/13/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Telephone conference with
                                                                                              R. Kors, M. Shinderman,
                                                                                              B. Spiegel and E. McNeilly
                                                                                              regarding next steps for
                                                                                              trustee to take
07/13/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Reisner regarding next
                                                                                              steps on trustee
                                                                                              appointment
07/13/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              R. Kors regarding his task
                                                                                              list items for case
07/13/21       Edward Joseph                 HLUS       875.00             0.80    700.00     Zoom conference with R.
               McNeilly                                                                       Kors, M. Shinderman, R.
                                                                                              Wynne and B. Spiegel
                                                                                              regarding chapter 11 case
                                                                                              and key issues
07/13/21       Rahmon Brown                  HLUS       835.00             4.20   3,507.00    Review and analyze case
                                                                                              law regarding plan
                                                                                              confirmation (3.1); email
                                                                                              with Hogan Lovells team
                                                                                              regarding plan research
                                                                                              (.5); email with B. Spiegel
                                                                                              regarding plan research
                                                                                              (.6)
07/13/21       Tracy Southwell               HLUS       490.00             0.80    392.00     Prepare chambers package
                                                                                              of declarations related to
                                                                                              chapter 11 trustee and
                                                                                              coordinate delivery of
                                                                                              same (.4); coordinate
                                                                                              personal service and mail
                                                                                              service of same (.4)
07/14/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              M. Shinderman regarding
                                                                                              next steps for trustee R.
                                                                                              Kors
07/14/21       Rahmon Brown                  HLUS       835.00             2.40   2,004.00    Telephone conference with
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Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              E. McNeilly regarding plan
                                                                                              research (.3); review and
                                                                                              analyze additional case law
                                                                                              regarding plan
                                                                                              confirmation (1.9); review
                                                                                              draft of notice of
                                                                                              withdrawal (.2)
07/15/21       Edward Joseph                 HLUS       875.00             0.10      87.50    Email with R. Kors
               McNeilly                                                                       attaching committee
                                                                                              investigation report
07/15/21       Rahmon Brown                  HLUS       835.00             6.20   5,177.00    Review and analyze case
                                                                                              law regarding plan
                                                                                              confirmation issues (3.2);
                                                                                              draft email regarding
                                                                                              research on plan
                                                                                              confirmation issues (1.7);
                                                                                              email draft of email
                                                                                              regarding E. McNeilly
                                                                                              comments (1.3)
07/16/21       Rahmon Brown                  HLUS       835.00             0.20    167.00     Email to Hogan Lovells
                                                                                              team regarding plan
                                                                                              confirmation research
07/20/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              E. McNeilly regarding R.
                                                                                              Kors information requests
07/20/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              R. Kors regarding diligence
07/22/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              M. Shinderman regarding
                                                                                              trustee's fact gathering
                                                                                              meetings, issues raised by
                                                                                              debtor and J. Reisner,
                                                                                              plan, backstop, and
                                                                                              estimation ideas
07/23/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              R. Kors regarding his
                                                                                              diligence needs and
                                                                                              meetings required
07/23/21       Edward Joseph                 HLUS       875.00             0.20    175.00     Zoom meeting with R.
               McNeilly                                                                       Wynne and R. Kors
                                                                                              regarding Gavrieli case
                                                                                              status
07/28/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              R. Kors regarding diligence
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Kfir Gavrieli Official Creditors Committee

B110 - Case Administration

Date           Name                          LLP          Rate          Hours      Amount       Narrative
                                                                                                items he needs, and access
                                                                                                to KGI for information on
                                                                                                claims and asset transfers
                                                                                                they evaluated
07/29/21       Bennett Spiegel               HLUS      1,310.00            1.10     1,441.00    Zoom telephone
                                                                                                conference with R. Wynne,
                                                                                                R. Kors and M.
                                                                                                Shinderman regarding
                                                                                                trustee meetings with
                                                                                                parties in interest and
                                                                                                committee impact
07/29/21       Rick Wynne                    HLUS      1,550.00            1.00     1,550.00    Attend meeting with R.
                                                                                                Kors and M. Shinderman
                                                                                                regarding next steps for
                                                                                                the trustee, diligence, and
                                                                                                various plan option
                                                                                                proposals
07/30/21       Bennett Spiegel               HLUS      1,310.00            0.80     1,048.00    Zoom telephone
                                                                                                conference with R. Wynne,
                                                                                                R. Kors and M.
                                                                                                Shinderman regarding
                                                                                                further trustee
                                                                                                consideration of committee
                                                                                                impact on case strategy
                                                                                                and dynamics, and follow
                                                                                                up e-mail correspondence
                                                                                                from R. Wynne regarding
                                                                                                same
                                                      Subtotal          48.50     45,908.50

B120 - Asset Analysis and Recovery

Date           Name                          LLP          Rate          Hours      Amount       Narrative
07/30/21       Rick Wynne                    HLUS      1,550.00            0.40      620.00     Review sealed Gavrieli
                                                                                                Brands report
07/30/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Prepare follow up
                                                                                                correspondence to M.
                                                                                                Shinderman and R. Kors
                                                                                                regarding open issues, and
                                                                                                Gavrieli Brands sealed
                                                                                                report
07/30/21       Rick Wynne                    HLUS      1,550.00            0.50      775.00     Telephone conference with
                                                                                                S. Green regarding
                                                                                                materials to pull together
                                                                                                for trustee, and set up for
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B120 - Asset Analysis and Recovery

Date           Name                          LLP          Rate          Hours     Amount       Narrative
                                                                                               meeting, specific
                                                                                               documents about the
                                                                                               company, and his ideas for
                                                                                               further diligence needed
                                                                                               for valuation and possible
                                                                                               sales process
                                                      Subtotal             1.10   1,705.00

B150 - Meetings of and Communications with Creditors

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/01/21       Rick Wynne                    HLUS      1,550.00            0.10     155.00     Telephone conference with
                                                                                               R. Margolin regarding
                                                                                               election issues
07/06/21       Rick Wynne                    HLUS      1,550.00            0.30     465.00     Call and follow up
                                                                                               correspondence with N.
                                                                                               Shariff, IRS regarding
                                                                                               trustee election
07/07/21       Bennett Spiegel               HLUS      1,310.00            0.20     262.00     E-mail correspondence
                                                                                               with E. McNeilly and
                                                                                               creditor regarding proxies
                                                                                               and trustee election
07/07/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Telephone conference with
                                                                                               R. Margolin regarding
                                                                                               trustee candidates
07/08/21       Bennett Spiegel               HLUS      1,310.00            0.80   1,048.00     Review numerous e-mails
                                                                                               regarding communication
                                                                                               with creditors regarding
                                                                                               trustee election process,
                                                                                               communication with
                                                                                               potential candidates
                                                                                               regarding interview
                                                                                               process, and
                                                                                               communication with IRS
                                                                                               counsel regarding same
07/08/21       Rick Wynne                    HLUS      1,550.00            0.50     775.00     Telephone conference with
                                                                                               creditors Zimmerman,
                                                                                               Rosenblum and Abrahams
                                                                                               regarding election and
                                                                                               interviews
07/08/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Correspondence
                                                                                               (individually) to L.
                                                                                               Abrahams, H.
                                                                                               Zimmerman, Miller
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Kfir Gavrieli Official Creditors Committee

B150 - Meetings of and Communications with Creditors

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              Barondess and H. Levy
                                                                                              regarding interviews
07/08/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Telephone conference with
                                                                                              P. Gilhuly, D. Schecter and
                                                                                              B. Spiegel regarding
                                                                                              trustee process, election
                                                                                              and telephone conference
                                                                                              with D. Schechter
07/09/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              L. Abrahams regarding
                                                                                              trustee election questions
07/09/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              Horvitz & Levy regarding
                                                                                              election proxy
07/10/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              P. Gilhuly regarding
                                                                                              Unatins views on
                                                                                              candidates and setting up
                                                                                              calls for him
07/10/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence with N.
                                                                                              Shariff regarding IRS claim
                                                                                              issues
07/11/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Correspondence to N.
                                                                                              Shariff regarding election
                                                                                              issues
07/12/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Correspondence and calls
                                                                                              with proxy voting creditors
07/12/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              D. Nir to confirm
                                                                                              participation in interviews
                                                                                              and discuss candidate
                                                                                              questions
07/12/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              P. Gilhuly regarding
                                                                                              interviews and committee
                                                                                              choice
07/12/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              N. Shariff regarding IRS
                                                                                              trustee choice
07/13/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              P. Gilhuly regarding 341(a)
                                                                                              and election
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B150 - Meetings of and Communications with Creditors

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/21/21       Bennett Spiegel               HLUS      1,310.00            0.10      131.00    E-mail correspondence
                                                                                               with E. Escobar and R.
                                                                                               Wynne regarding status
                                                                                               update with respect to
                                                                                               report on trustee election
                                                      Subtotal             5.90   8,881.00

B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/01/21       Bennett Spiegel               HLUS      1,310.00            0.10      131.00    Review revised draft
                                                                                               communication to U.S.
                                                                                               Trustee regarding trustee
                                                                                               election issues
07/01/21       Rick Wynne                    HLUS      1,550.00            0.50     775.00     Telephone conference with
                                                                                               E. McNeilly and B. Spiegel
                                                                                               regarding election issues
07/01/21       Edward Joseph                 HLUS       875.00             2.40    2,100.00    Email with R. Wynne and
               McNeilly                                                                        B. Spiegel regarding
                                                                                               adversary issues and
                                                                                               abstention (.6); telephone
                                                                                               conference with R. Wynne
                                                                                               and B. Spiegel regarding
                                                                                               trustee election (.4);
                                                                                               telephone conference with
                                                                                               R. Wynne regarding
                                                                                               committee email and
                                                                                               trustee election (.1);
                                                                                               telephone conference with
                                                                                               R. Brown regarding trustee
                                                                                               election proxies and
                                                                                               Unatins' claims (.2); email
                                                                                               with R. Brown regarding
                                                                                               Unatins' claims (.3); draft
                                                                                               email to creditors
                                                                                               regarding trustee election
                                                                                               (.5); draft email to
                                                                                               committee regarding
                                                                                               trustee election (.3)
07/02/21       Bennett Spiegel               HLUS      1,310.00            0.60     786.00     Telephone conference with
                                                                                               R. Wynne and E. McNeilly
                                                                                               regarding report on
                                                                                               settlement discussions
                                                                                               with Unatins
07/02/21       Edward Joseph                 HLUS       875.00             2.70    2,362.50    Finalize draft email to
               McNeilly                                                                        committee regarding the
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              trustee election (.2);
                                                                                              telephone conference with
                                                                                              R. Wynne regarding plan
                                                                                              settlement meeting and
                                                                                              trustee election (.2); email
                                                                                              with committee regarding
                                                                                              trustee election and
                                                                                              committee meeting (.1);
                                                                                              telephone conference with
                                                                                              R. Wynne and B. Spiegel
                                                                                              regarding Gavrieli
                                                                                              settlement negotiations
                                                                                              (.4); revise letter to E.
                                                                                              Escobar, prepare exhibits
                                                                                              to same and spreadsheet
                                                                                              showing list of eligible
                                                                                              creditors (1.8)
07/05/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              trustee election issues and
                                                                                              potential candidates
07/05/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Calls and correspondence
                                                                                              with A. Friedman and L.
                                                                                              Bui regarding case
                                                                                              background
07/05/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              H. Ehrenberg regarding
                                                                                              trustee election
07/05/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Correspondence with H.
                                                                                              Ehrenberg regarding
                                                                                              trustee issues
07/05/21       Edward Joseph                 HLUS       875.00             0.20    175.00     Email with R. Brown
               McNeilly                                                                       regarding trustee election
                                                                                              proxies
07/06/21       Bennett Spiegel               HLUS      1,310.00            0.50    655.00     E-mail correspondence
                                                                                              with E. McNeilly and R.
                                                                                              Wynne regarding
                                                                                              preparation of
                                                                                              communication to
                                                                                              committee members
                                                                                              regarding trustee election
                                                                                              and review R. Wynne e-
                                                                                              mail correspondence to
                                                                                              IRS counsel and debtor
                                                                                              counsel regarding same
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/06/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Telephone conference with
                                                                                              R. Wynne regarding report
                                                                                              on telephone conference
                                                                                              with IRS counsel with
                                                                                              respect to trustee election
                                                                                              issues
07/06/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding
                                                                                              trustee process
07/06/21       Edward Joseph                 HLUS       875.00             1.10    962.50     Emails with committee
               McNeilly                                                                       members attaching powers
                                                                                              of attorney for trustee
                                                                                              election (.3); email with
                                                                                              committee chair regarding
                                                                                              power of attorney for
                                                                                              trustee election (.2);
                                                                                              telephone conference with
                                                                                              R. Wynne and B. Spiegel
                                                                                              regarding trustee election
                                                                                              (.2); revise and send email
                                                                                              to creditors regarding
                                                                                              trustee election (.4)
07/07/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding
                                                                                              preparation of draft
                                                                                              communication with U.S.
                                                                                              Trustee counsel and IRS
                                                                                              counsel regarding trustee
                                                                                              election process
07/07/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              L. Bui and A. Friedman
                                                                                              regarding diligence
07/07/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              R. Kors regarding trustee
                                                                                              election
07/07/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Review IRS reply by S.
                                                                                              Toscher and L. Taylor
07/07/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Prepare correspondence to
                                                                                              E. Escobar regarding
                                                                                              election and exhibits,
                                                                                              correspondence to N.
                                                                                              Shariff, IRS regarding
                                                                                              same, and review of Elieff
                                                                                              disputed election report
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/07/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              S. Coffey regarding trustee
                                                                                              election
07/07/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Follow up call with R. Kors
                                                                                              regarding trustee interview
07/07/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Telephone conference with
                                                                                              E. McNeilly regarding
                                                                                              trustee election
                                                                                              spreadsheet and chart to
                                                                                              prepare
07/07/21       Edward Joseph                 HLUS       875.00             4.10   3,587.50    Zoom conference with R.
               McNeilly                                                                       Wynne and J. Reisner (.4);
                                                                                              multiple emails with R.
                                                                                              Brown, committee
                                                                                              members and R. Wynne
                                                                                              and B. Spiegel regarding
                                                                                              trustee election (.6);
                                                                                              multiple emails with
                                                                                              creditors regarding powers
                                                                                              of attorney and trustee
                                                                                              election (.7); revise letter to
                                                                                              U.S. Trustee,
                                                                                              accompanying spreadsheet
                                                                                              and exhibits (1.0); multiple
                                                                                              emails with creditors
                                                                                              regarding powers of
                                                                                              attorney and trustee
                                                                                              election (1.4)
07/08/21       Bennett Spiegel               HLUS      1,310.00            1.20   1,572.00    Telephone conference with
                                                                                              R. Wynne, P. Gilhuly and
                                                                                              D. Schecter regarding
                                                                                              trustee election process
                                                                                              and potential overall
                                                                                              settlement process
                                                                                              parameters (1.0); follow up
                                                                                              telephone conference with
                                                                                              R. Wynne regarding same
                                                                                              (.2)
07/08/21       Bennett Spiegel               HLUS      1,310.00            1.30   1,703.00    E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding
                                                                                              preparation for interviews
                                                                                              of trustee candidates
07/08/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Prepare topic outline for
                                                                                              trustee interviews
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel regarding follow
                                                                                              up to Latham call
07/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              E. McNeilly regarding
                                                                                              items to do on proxies and
                                                                                              voting
07/08/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Prepare questions for
                                                                                              creditors committee
                                                                                              members for trustee
                                                                                              interviews
07/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Reisner regarding his
                                                                                              questions about status and
                                                                                              meeting with S. Chenetz
07/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence to all
                                                                                              trustee candidates
                                                                                              regarding outline of topics
                                                                                              to cover
07/08/21       Edward Joseph                 HLUS       875.00             1.80   1,575.00    Telephone conference with
               McNeilly                                                                       D. Miller regarding proxy
                                                                                              for trustee election (.2);
                                                                                              telephone conference with
                                                                                              R. Wynne regarding
                                                                                              trustee election (.1);
                                                                                              telephone conference with
                                                                                              Y. Bank regarding trustee
                                                                                              election (.3); multiple
                                                                                              emails with R. Wynne, B.
                                                                                              Spiegel and creditors
                                                                                              regarding trustee election
                                                                                              and proxies (1.2)
07/09/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     E-mail correspondence
                                                                                              regarding obtaining and
                                                                                              organizing proxies for
                                                                                              trustee election
07/09/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              Gavrieli brands issue and
                                                                                              possible offer to Unatins
07/09/21       Rick Wynne                    HLUS      1,550.00            0.60    930.00     Telephone conference with
                                                                                              R. Kors regarding
                                                                                              interview preparation
                                                                                              questions
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/09/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              E. Brady regarding trustee
                                                                                              candidates
07/09/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Review precedent report of
                                                                                              disputed election
07/09/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Prepare spreadsheet with
                                                                                              proxies and claims, and
                                                                                              analysis of voting
                                                                                              thresholds and
                                                                                              requirements
07/09/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Telephone conference with
                                                                                              S. Chenetz regarding her
                                                                                              preparation for trustee
                                                                                              interviews
07/09/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              E. Escobar regarding
                                                                                              election
07/09/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Review R. Friedman article
                                                                                              regarding trustee elections
07/10/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              regarding status of proxies
                                                                                              for 7/13/21 election
                                                                                              meeting
07/10/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              trustee election and
                                                                                              committee members
                                                                                              possible objections to votes
                                                                                              by IRS, Unatins and
                                                                                              creditors committee
07/10/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Review Unatin Hong Kong
                                                                                              testimony
07/10/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Telephone conference with
                                                                                              S. Coffey regarding
                                                                                              background and questions
07/10/21       Edward Joseph                 HLUS       875.00             0.10      87.50    Email with R. Wynne
               McNeilly                                                                       regarding trustee election
                                                                                              proxies
07/11/21       Bennett Spiegel               HLUS      1,310.00            1.30   1,703.00    Review materials from
                                                                                              superior court litigation
                                                                                              regarding Unatin
                                                                                              complaint in Hong Kong
                                                                                              tax scheme
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/11/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence to R. Kors
                                                                                              regarding questions for
                                                                                              interview
07/11/21       Rick Wynne                    HLUS      1,550.00            0.70   1,085.00    Telephone conference with
                                                                                              R. Kors regarding his
                                                                                              interview questions and
                                                                                              preparation
07/11/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Prepare correspondence to
                                                                                              E. Escobar regarding
                                                                                              trustee election issues with
                                                                                              Unatins and IRS
07/11/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conferences
                                                                                              with S. Coffey regarding
                                                                                              information on company
                                                                                              and further details he
                                                                                              requested
07/11/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              J. Reisner regarding S.
                                                                                              Coffey information
                                                                                              requests on shoe company
07/11/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Correspondence to E.
                                                                                              Escobar regarding proxies,
                                                                                              dispute issues on election,
                                                                                              IRS and disputed claims
07/11/21       Edward Joseph                 HLUS       875.00             0.60    525.00     Analyze case law relating
               McNeilly                                                                       to trustee election
                                                                                              eligibility objections (.4);
                                                                                              email with R. Brown
                                                                                              regarding trustee election
                                                                                              eligibility objections (.2)
07/12/21       Bennett Spiegel               HLUS      1,310.00            0.70    917.00     Telephone conference with
                                                                                              R. Wynne and J. Reisner
                                                                                              regarding merits of
                                                                                              pending appeal and trustee
                                                                                              interview process
07/12/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding
                                                                                              preparation of proxy notice
07/12/21       Bennett Spiegel               HLUS      1,310.00            0.70    917.00     Telephone conference with
                                                                                              R. Wynne and review
                                                                                              materials in preparation
                                                                                              for trustee candidate
                                                                                              interviews
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/12/21       Bennett Spiegel               HLUS      1,310.00            2.70   3,537.00    Participate in trustee
                                                                                              candidate interviews with
                                                                                              R. Wynne, E. McNeilly and
                                                                                              various creditors, and
                                                                                              follow up telephone
                                                                                              conference with R. Wynne
                                                                                              and E. McNeilly regarding
                                                                                              same
07/12/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              various parties' preference
                                                                                              regarding trustee election,
                                                                                              potential consensus
                                                                                              regarding same and
                                                                                              discussion of potential
                                                                                              stipulation regarding same
07/12/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              R. Kors regarding
                                                                                              interview follow up
07/12/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              B. Spiegel and E. McNeilly
                                                                                              regarding election results
                                                                                              and creditors choice
07/12/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              S. Coffey regarding
                                                                                              interview follow up
07/12/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              E. Escobar regarding
                                                                                              election and interview
                                                                                              meeting, correspondence
                                                                                              and calls confirming
                                                                                              trustee choice
07/12/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conferences
                                                                                              with S. Coffey regarding
                                                                                              information request for
                                                                                              company information for
                                                                                              interview
07/12/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              J. Reisner regarding
                                                                                              company information
                                                                                              request
07/12/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Research regarding
                                                                                              determination of insider
                                                                                              for trustee election
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/12/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              S. Coffey regarding trustee
                                                                                              issues and counsel choice
                                                                                              issues
07/12/21       Rick Wynne                    HLUS      1,550.00            2.40   3,720.00    Interviews of four trustee
                                                                                              candidates and brief
                                                                                              review after
07/12/21       Edward Joseph                 HLUS       875.00             8.40   7,350.00    Attend trustee candidate
               McNeilly                                                                       interviews (2.5); telephone
                                                                                              conference with R. Wynne
                                                                                              regarding trustee election
                                                                                              stipulation (.1); draft
                                                                                              stipulation with IRS and
                                                                                              Unatins regarding chapter
                                                                                              11 trustee creditor meeting
                                                                                              (.9); draft and file
                                                                                              Margolin, Wynne and
                                                                                              McNeilly declarations
                                                                                              verifying proxy solicitation
                                                                                              process (4.7); emails with
                                                                                              U.S. Trustee and
                                                                                              committee regarding proxy
                                                                                              solicitation process (.2)
07/13/21       Bennett Spiegel               HLUS      1,310.00            0.80   1,048.00    Telephone conference with
                                                                                              R. Wynne, E. McNeilly, R.
                                                                                              Kors and M. Shinderman
                                                                                              regarding preliminary
                                                                                              process issues for Kors as
                                                                                              successor chapter 11
                                                                                              trustee
07/13/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     Review earlier filed
                                                                                              committee motion to seal
                                                                                              and Judge Bluebond
                                                                                              tentative ruling regarding
                                                                                              same (.2); e-mail
                                                                                              correspondence with
                                                                                              debtor counsel and Unatin
                                                                                              counsel regarding same (.1)
07/13/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Telephone conference with
                                                                                              R. Wynne and E. McNeilly
                                                                                              regarding Judge Bluebond
                                                                                              tentative ruling regarding
                                                                                              seal motion and 7/14/21
                                                                                              hearing regarding same
07/13/21       Rick Wynne                    HLUS      1,550.00            0.10     155.00    Correspondence to E.
                                                                                              Escobar and P. Anderson
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              regarding U.S. Trustee
                                                                                              election meeting
07/13/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Calls and e-mail
                                                                                              correspondence with S.
                                                                                              Coffey regarding family
                                                                                              illness and inability to
                                                                                              serve
07/13/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Review subordination
                                                                                              research cases
07/13/21       Rick Wynne                    HLUS      1,550.00            0.90   1,395.00    Calls and correspondence
                                                                                              with P. Gilhuly, J. Reisner,
                                                                                              N. Shariff. R. Margolin, D.
                                                                                              Nir and R. Vargas
                                                                                              regarding S. Coffey
                                                                                              withdrawing and
                                                                                              discussion regarding R.
                                                                                              Kors as candidate
07/13/21       Edward Joseph                 HLUS       875.00             1.10    962.50     Attend 1104(a) creditor
               McNeilly                                                                       meeting (.8); telephone
                                                                                              conference with R. Wynne
                                                                                              and B. Spiegel regarding
                                                                                              creditor meeting and
                                                                                              motion to seal report
                                                                                              supplement (.2); email
                                                                                              with R. Wynne and B.
                                                                                              Spiegel regarding Judge
                                                                                              Bluebond's tentative ruling
                                                                                              on motion to seal report
                                                                                              supplement (.1)
07/14/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Telephone conference and
                                                                                              e-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              follow up with U.S. Trustee
                                                                                              on chapter 11 trustee
                                                                                              election
07/14/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              and telephone conference
                                                                                              with R. Wynne and E.
                                                                                              McNeilly regarding follow
                                                                                              up on hearing regarding
                                                                                              motion to seal and review
                                                                                              notice of withdrawal of
                                                                                              motion as filed
07/14/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              B. Spiegel regarding
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              materials needed for
                                                                                              trustee review
07/14/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Review Elieff report and
                                                                                              prepare correspondence to
                                                                                              E. Escobar regarding need
                                                                                              for a motion
07/14/21       Rick Wynne                    HLUS      1,550.00            0.10    155.00     Telephone conference with
                                                                                              E. Escobar regarding
                                                                                              trustee election
07/14/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              M. Shinderman and R.
                                                                                              Kors regarding trustee
                                                                                              question on cases
                                                                                              regarding diligence issues
07/14/21       Edward Joseph                 HLUS       875.00             0.20    175.00     Telephone conference with
               McNeilly                                                                       B. Spiegel regarding notice
                                                                                              of withdrawal of motion to
                                                                                              seal (.1); review draft
                                                                                              notice of withdrawal of
                                                                                              motion to seal (.1)
07/17/21       Bennett Spiegel               HLUS      1,310.00            0.10     131.00    E-mail correspondence
                                                                                              with R. Wynne regarding
                                                                                              communication with U.S.
                                                                                              Trustee with respect to
                                                                                              follow up on trustee
                                                                                              election
07/21/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     E-mail correspondence
                                                                                              with E. McNeilly and R.
                                                                                              Wynne regarding review of
                                                                                              E. McNeilly draft
                                                                                              complaint for
                                                                                              subordination and next
                                                                                              steps
07/22/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Review draft subordination
                                                                                              complaint and materials
                                                                                              sent by trial counsel
                                                                                              regarding Hong Kong
                                                                                              issues
07/23/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              E. McNeilly regarding
                                                                                              subordination issues
07/27/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Review U.S. Trustee report
                                                                                              regarding undisputed
                                                                                              election
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B190 - Other Contested Matters (excluding assumption/rejection)

Date           Name                          LLP          Rate          Hours      Amount       Narrative
07/27/21       Rick Wynne                    HLUS      1,550.00            0.40      620.00     Review election report and
                                                                                                exhibits
07/27/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Telephone conference with
                                                                                                R. Kors regarding next
                                                                                                steps
07/30/21       Rick Wynne                    HLUS      1,550.00            0.60      930.00     Review and revise
                                                                                                subordination complaint
                                                                                                against Unatins
                                                      Subtotal          58.30     71,970.50

B240 - Tax Issues

Date           Name                          LLP          Rate          Hours      Amount       Narrative
07/07/21       Bennett Spiegel               HLUS      1,310.00            0.50      655.00     E-mail correspondence
                                                                                                with R. Wynne and E.
                                                                                                McNeilly regarding tax
                                                                                                issues and communication
                                                                                                with IRS counsel and
                                                                                                debtor counsel regarding
                                                                                                IRS disputed claim in
                                                                                                connection with 7/13/21
                                                                                                election meeting, and
                                                                                                review U.S. Trustee guide
                                                                                                regarding same
07/07/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Telephone conference with
                                                                                                S. Toscher in follow up on
                                                                                                tax issues
                                                      Subtotal             0.70     965.00

B260 - Committee Governance and Meetings

Date           Name                          LLP          Rate          Hours      Amount       Narrative
07/05/21       Rick Wynne                    HLUS      1,550.00            0.60      930.00     Prepare creditors
                                                                                                committee update
                                                                                                regarding settlement
                                                                                                meeting, election and
                                                                                                interviews
07/06/21       Bennett Spiegel               HLUS      1,310.00            0.60      786.00     Telephone conference with
                                                                                                Hogan Lovells team and
                                                                                                committee members
                                                                                                regarding trustee election
                                                                                                issues and potential trustee
                                                                                                candidates (.5); follow up
                                                                                                telephone conference with
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B260 - Committee Governance and Meetings

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              R. Wynne and E. McNeilly
                                                                                              regarding same (.1)
07/06/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Attend meeting with
                                                                                              creditors committee
                                                                                              regarding trustee
                                                                                              candidates
07/06/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Telephone conference with
                                                                                              E. McNeilly regarding
                                                                                              follow up required from
                                                                                              creditors committee
                                                                                              meeting
07/06/21       Edward Joseph                 HLUS       875.00             0.40    350.00     Attend committee meeting
               McNeilly
07/07/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              N. Shariff regarding
                                                                                              election dispute of IRS
                                                                                              claim
07/07/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Review letter to E. Escobar
                                                                                              and correspondence to
                                                                                              creditors committee
                                                                                              regarding same
07/07/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence to
                                                                                              creditors committee
                                                                                              regarding trustee
                                                                                              candidates
07/08/21       Rick Wynne                    HLUS      1,550.00            0.20    310.00     Correspondence with
                                                                                              creditors committee
                                                                                              regarding interview
                                                                                              process and proxies
07/11/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Correspondence to
                                                                                              creditors committee
                                                                                              regarding outline of
                                                                                              questions for trustee
                                                                                              candidates and S. Chenetz
                                                                                              plan proposal
07/11/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Prepare outline of
                                                                                              questions for trustee
                                                                                              candidates and issues, and
                                                                                              correspondence to major
                                                                                              creditors regarding same
07/12/21       Rick Wynne                    HLUS      1,550.00            1.00   1,550.00    Correspondence and follow
                                                                                              up creditors committee
                                                                                              meeting regarding trustee
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B260 - Committee Governance and Meetings

Date           Name                          LLP          Rate          Hours      Amount       Narrative
                                                                                                election, Unatin and IRS
                                                                                                views on candidates
07/13/21       Bennett Spiegel               HLUS      1,310.00            0.90     1,179.00    E-mail correspondence
                                                                                                with R. Wynne and E.
                                                                                                McNeilly regarding change
                                                                                                of proposed trustee to R.
                                                                                                Kors (.1); attend telephonic
                                                                                                meeting of creditors (.8)
07/13/21       Rick Wynne                    HLUS      1,550.00            0.90     1,395.00    Attend 341(a) meeting, and
                                                                                                follow up calls and meeting
                                                                                                with creditors committee
07/14/21       Rick Wynne                    HLUS      1,550.00            0.20      310.00     Correspondence with
                                                                                                creditors committee
                                                                                                regarding election report
                                                                                                issues and trustee
                                                                                                questions
                                                      Subtotal             7.00   10,220.00

B310 - Claims Administration and Objections

Date           Name                          LLP          Rate          Hours      Amount       Narrative
07/01/21       Rick Wynne                    HLUS      1,550.00            0.30      465.00     Correspondence to E.
                                                                                                Escobar regarding
                                                                                                disputed claim
07/07/21       Rick Wynne                    HLUS      1,550.00            0.60      930.00     Finalize correspondence to
                                                                                                E. Escobar regarding
                                                                                                election dispute on certain
                                                                                                claims
07/07/21       Rick Wynne                    HLUS      1,550.00            0.10      155.00     Review defendants letter to
                                                                                                IRS
07/07/21       Edward Joseph                 HLUS       875.00             0.30      262.50     Review and comment on
               McNeilly                                                                         draft objection to Unatin
                                                                                                claim and notice of
                                                                                                objection
07/09/21       Bennett Spiegel               HLUS      1,310.00            1.20     1,572.00    Telephone conference and
                                                                                                e-mail correspondence
                                                                                                with R. Wynne and E.
                                                                                                McNeilly regarding
                                                                                                potential subordination of
                                                                                                Unatin claims and related
                                                                                                issues
07/11/21       Bennett Spiegel               HLUS      1,310.00            0.50      655.00     Prepare e-mail
                                                                                                correspondence to R.
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B310 - Claims Administration and Objections

Date           Name                          LLP          Rate          Hours     Amount       Narrative
                                                                                               Wynne and E. McNeilly
                                                                                               regarding plan
                                                                                               confirmation research
                                                                                               issues
07/11/21       Bennett Spiegel               HLUS      1,310.00            1.10    1,441.00    Telephone conference with
                                                                                               E. McNeilly regarding
                                                                                               potential subordination
                                                                                               claim against Unatins
                                                      Subtotal             4.10   5,480.50

B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours     Amount       Narrative
07/01/21       Bennett Spiegel               HLUS      1,310.00            0.40     524.00     Telephone conference with
                                                                                               G. Seli regarding modeling
                                                                                               plans and settlement
                                                                                               alternatives
07/01/21       Rick Wynne                    HLUS      1,550.00            1.50    2,325.00    Review plan projection and
                                                                                               settlement proposals from
                                                                                               mediation, and conference
                                                                                               with J. Reisner and K.
                                                                                               Gavrieli regarding same
                                                                                               and their prior
                                                                                               negotiations
07/01/21       Rick Wynne                    HLUS      1,550.00            0.20     310.00     Telephone conference with
                                                                                               S. Green and G. Seli
                                                                                               regarding plan projections
                                                                                               and model
07/01/21       Edward Joseph                 HLUS       875.00             0.20      175.00    Telephone conference with
               McNeilly                                                                        G. Seli regarding plan
                                                                                               projection analysis
07/02/21       Rick Wynne                    HLUS      1,550.00            0.40     620.00     Telephone conference with
                                                                                               B. Spiegel and E. McNeilly
                                                                                               regarding settlement
                                                                                               structure for plan process
                                                                                               that Unatins and debtor
                                                                                               might agree to
07/02/21       Rick Wynne                    HLUS      1,550.00            0.50     775.00     Telephone conference with
                                                                                               S. Green regarding ideas
                                                                                               for settlement meeting
                                                                                               with Unatins and debtor
07/02/21       Rick Wynne                    HLUS      1,550.00            2.50    3,875.00    Attend settlement meeting
                                                                                               with J. Reisner and P.
                                                                                               Gilhuly
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B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours     Amount      Narrative
07/02/21       Rick Wynne                    HLUS      1,550.00            0.80   1,240.00    Follow up call with J.
                                                                                              Reisner regarding potential
                                                                                              settlement proposals
07/02/21       Rick Wynne                    HLUS      1,550.00            0.50    775.00     Follow up meeting with P.
                                                                                              Gilhuly after J. Reisner left
                                                                                              meeting
07/02/21       Edward Joseph                 HLUS       875.00             0.10      87.50    Telephone conference with
               McNeilly                                                                       G. Seli regarding plan
                                                                                              projections analysis
07/06/21       Edward Joseph                 HLUS       875.00             0.20     175.00    Email with R. Brown and
               McNeilly                                                                       T. Southwell regarding
                                                                                              professional fee analysis
                                                                                              for plan settlement
                                                                                              analysis
07/07/21       Tracy Southwell               HLUS       490.00             4.00   1,960.00    Research attorney fees,
                                                                                              expenses and payments
                                                                                              regarding plan feasibility
                                                                                              (2.3); prepare chart of
                                                                                              same (1.7)
07/11/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Review e-mail
                                                                                              correspondence from S.
                                                                                              Chenetz regarding chapter
                                                                                              11 plan concepts
07/11/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              S. Chenetz regarding plan
                                                                                              proposal, including review
                                                                                              and notes regarding same
07/12/21       Bennett Spiegel               HLUS      1,310.00            0.30    393.00     Telephone conference with
                                                                                              G. Seli regarding pending
                                                                                              information request and
                                                                                              trustee election process
07/12/21       Rick Wynne                    HLUS      1,550.00            0.40    620.00     Telephone conference with
                                                                                              S. Chenetz regarding
                                                                                              reorganization plan
07/13/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     E-mail correspondence
                                                                                              with R. Brown and E.
                                                                                              McNeilly regarding
                                                                                              authorities with respect to
                                                                                              potential plan
                                                                                              confirmation issues
07/13/21       Rick Wynne                    HLUS      1,550.00            1.20   1,860.00    Review plan related
                                                                                              research, including plan
                                                                                              confirmation and
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                                                              Date                August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No          19600006431

                                                              Our Ref             771657.000001

Kfir Gavrieli Official Creditors Committee

B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours     Amount      Narrative
                                                                                              classification issues with
                                                                                              respect to the Unatins’
                                                                                              claims
07/13/21       Edward Joseph                 HLUS       875.00             0.30    262.50     Email with R. Brown
               McNeilly                                                                       analyzing plan
                                                                                              confirmation issues
07/14/21       Bennett Spiegel               HLUS      1,310.00            0.80   1,048.00    Review authorities
                                                                                              regarding plan
                                                                                              confirmation issues
07/14/21       Bennett Spiegel               HLUS      1,310.00            0.20    262.00     Telephone conference with
                                                                                              E. McNeilly regarding
                                                                                              status of research with
                                                                                              respect to potential plan
                                                                                              confirmation issues
07/14/21       Edward Joseph                 HLUS       875.00             0.20     175.00    Telephone conference with
               McNeilly                                                                       B. Spiegel regarding plan
                                                                                              confirmation issues
07/14/21       Tracy Southwell               HLUS       490.00             2.00    980.00     Review docket regarding
                                                                                              withdrawal of ex parte
                                                                                              motion to seal (.2); prepare
                                                                                              notice of withdrawal of
                                                                                              motion (.8); prepare
                                                                                              certificate of service (.2);
                                                                                              confer and emails with E.
                                                                                              McNeilly regarding same
                                                                                              (.2); prepare notice of ECF
                                                                                              filing (.1); ECF file same
                                                                                              (.3); service of same via
                                                                                              Federal Express and U.S.
                                                                                              mail (.2)
07/15/21       Edward Joseph                 HLUS       875.00             0.80    700.00     Review and comment on R.
               McNeilly                                                                       Brown's analysis of plan
                                                                                              confirmation issues
07/16/21       Bennett Spiegel               HLUS      1,310.00            0.60    786.00     Review e-mail
                                                                                              correspondence and
                                                                                              authorities from R. Brown
                                                                                              regarding research on plan
                                                                                              confirmation issues
07/21/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              R. Kors regarding meeting
                                                                                              with debtor and next steps
07/21/21       Rick Wynne                    HLUS      1,550.00            0.30    465.00     Telephone conference with
                                                                                              S. Green regarding next
                                                                                              steps on plan ideas for
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                                                              Date                  August 30, 2021

Kfir Gavrieli Official Creditors Committee                    Invoice No            19600006431

                                                              Our Ref               771657.000001

Kfir Gavrieli Official Creditors Committee

B320 - Plan and Disclosure Statement

Date           Name                          LLP          Rate          Hours      Amount       Narrative
                                                                                                trustee plan, projections
                                                                                                needed and financial
                                                                                                advisor analysis
07/30/21       Rick Wynne                    HLUS      1,550.00            0.70     1,085.00    Attend meeting with R.
                                                                                                Kors and M. Shinderman
                                                                                                regarding plan process
                                                                                                diligence needed by
                                                                                                trustee, and possible
                                                                                                compromise ideas
                                                      Subtotal          20.20     23,087.00

Total Professional Services                                             157.60                           USD 179,025.50
Less Discount                                                                                                   (4,768.13)
Total Professional Services Charged                                                                      USD 174,257.37
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                                                            Date                    August 30, 2021

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                                                            Our Ref                 771657.000001

Kfir Gavrieli Official Creditors Committee

                                                        Summary


              Timekeeper Name                           Hours               Rate                           Fees
              Rick Wynne                                 51.40           1,550.00                      79,670.00
              Bennett Spiegel                            24.60           1,310.00                      32,226.00
              Edward Joseph McNeilly                     37.80            875.00                       33,075.00
              Rahmon Brown                               36.50            835.00                       30,477.50
              Tracy Southwell                             7.30            490.00                        3,577.00
              Total Professional Services               157.60                               USD 179,025.50
              Less Discount                                                                           (4,768.13)
              Total Professional Services Charged                                             USD 174,257.37
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                                                                  Date           August 30, 2021

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                                                                  Our Ref        771657.000001

Kfir Gavrieli Official Creditors Committee

                                                              Summary


           Task                 Task Code Description                          Hours                   Fees
           01                   Litigation                                      10.80               9,450.00
           05                   Hearing                                          1.00               1,358.00
           B110                 Case Administration                             48.50              45,908.50
           B120                 Asset Analysis and Recovery                      1.10               1,705.00
           B150                 Meetings of and Communications with              5.90               8,881.00
                                Creditors
           B190                 Other Contested Matters (excluding              58.30              71,970.50
                                assumption/rejection)
           B240                 Tax Issues                                       0.70                965.00
           B260                 Committee Governance and Meetings                7.00              10,220.00
           B310                 Claims Administration and Objections             4.10               5,480.50
           B320                 Plan and Disclosure Statement                   20.20              23,087.00
           Total Professional Services                                         157.60        USD 179,025.50
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                                                            Our Ref          771657.000001

Kfir Gavrieli Official Creditors Committee



Disbursement and Charges


ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                    105.08
Chambers Copy of document
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                     97.70
service copies of document
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                     45.25
Service Copy of document
FEDEX - Vendor:FEDEX / Cost Type:Air Freight /                                                        18.60
771657.000001/Customer#:234523155/ Tracking#:281465098382/
OfficeCode#:LACA/ ShippingDate:14/07/2021 00:00:00
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                    208.45
Service Copy (UST - Anderson)
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                    156.00
Service Copy (UTS - Escobar)
ACE ATTORNEY SERVICE INC - ACE ATTORNEY SERVICE INC - Delivery of                                    227.08
Chamber's Copy (Declaration)
Computer Research - Westlaw                                                                          912.49
Word Processing                                                                                       18.75


Total for Other Charges                                                                        USD 1,789.40
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

1999 Avenue of the Stars, Suite 1400, Los Angeles, California 90067

A True and correct copy of the foregoing document(s) entitled (specify):

Hogan Lovells US LLP’s Fourth Monthly Fee Application for Allowance and Payment of Interim
Compensation and Reimbursement of Expenses for the Periods June, 1-30 and July 1-31, 2021
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 31, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                            Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) August 31, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 31, 2021, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  August 31, 2021 Tracy Southwell                                              /s/ Tracy Southwell
  Date                              Printed Name                               Signature




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                                           In re Kfir Gavrieli
                                       Case No: 2:21-bk-10826-BB


                                           SERVED VIA NEF


            William H Brownstein Brownsteinlaw.bill@gmail.com
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             nnell@steptoe.com
            Edward J McNeilly edward.mcneilly@hoganlovells.com
            Amy Quartarolo amy.quartarolo@lw.com, laura.pumerville@lw.com;amy-quartarolo-
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            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
            Johnny White JWhite@wrslawyers.com,
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             7245@ecf.pacerpro.com




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                                                   SERVED VIA U.S. MAIL


             Kfir Gavrieli
             11771 Montana Ave., #215
             Los Angeles, CA 90049

             Eryk R. Escobar
             Office of the United States Trustee
             915 Wilshire Blvd., Suite 1850
             Los Angeles, CA 90017

             Steptoe & Johnson
             Attn: Jeffrey M. Reisner, Kerri Lyman,
             & Josh Taylor
             663 West Fifth Street, Suite 1900
             Los Angeles, CA 90071

             Milbank
             Attn: Mark Shinderman & William Shumacher
             2029 Century Park East, 33rd Floor
             Los Angeles, CA 90067-3019



                                                SERVED VIA OVERNIGHT

             Honorable Sheri Bluebond
             United States Bankruptcy Court
             255 E. Temple Street, Suite 1534
             Los Angeles, CA 90012




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